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               Aguilar, Richard and Melba - BLP Detail
     Date              Source           BLP Receipts    BLP Payments

6/18/2001     IMAC & Loan Agreements   $    80,228.13
8/10/2001     IMAC & Loan Agreements   $    35,000.00
1/24/2002     Pion 6192                $     6,000.00
3/19/2002     IMAC & Loan Agreements   $     8,264.04
3/20/2002     IMAC & Loan Agreements   $    55,605.04
5/2/2003      Pion 6192                $    50,000.00
5/9/2003      BBV 3145                 $    61,713.28
6/11/2003     BBV 4347                                  $      916.67
7/3/2003      BBV 4347                                  $      916.67
8/4/2003      BBV 4347                                  $      916.67
8/8/2003      Pion 6412                                 $    2,137.50
9/2/2003      BBV 4347                                  $      916.67
10/2/2003     BBV 4347                                  $      916.67
11/3/2003     BBV 4347                                  $      916.67
12/2/2003     BBV 4347                                  $      916.67
1/5/2004      BBV 4347                                  $      916.67
2/3/2004      BBV 4347                                  $      916.67
3/2/2004      BBV 4347                                  $      916.67
3/22/2004     BBV 0173                                  $    4,010.72
4/6/2004      BBV 4347                                  $      916.67
4/30/2004     BBV 4347                                  $      916.67
5/7/2004      BBV 3145                                  $    9,975.47
6/2/2004      BBV 4347                                  $      916.67
7/7/2004      BBV 4347                                  $      916.67
8/5/2004      BBV 4347                                  $      916.67
9/7/2004      BBV 4347                                  $      916.67
10/6/2004     BBV 4347                                  $      916.67
11/2/2004     BBV 4347                                  $      916.67
12/2/2004     BBV 4347                                  $      916.67
1/4/2005      BBV 4347                                  $      916.67
2/7/2005      BBV 4347                                  $      916.67
3/3/2005      BBV 4347                                  $      916.67
3/18/2005     Pion 6192                                 $    5,242.50
4/5/2005      Houston                                   $      916.67
5/5/2005      BBV 4347                                  $      916.67
5/19/2005     Pion 3739                                 $    9,937.00
6/3/2005      BBV 4347                                  $      916.67
6/27/2005     Pion 6412                $    10,000.00
7/7/2005      BBV 4347                                  $      916.67
8/3/2005      BBV 4347                                  $      816.67
8/9/2005      BBV 0173                                  $    3,250.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 5 of 99 PageID #: 2475
              Aguilar, Richard and Melba - BLP Detail
      Date            Source           BLP Receipts   BLP Payments
9/6/2005     BBV 4347                                 $      816.67
10/4/2005    BBV 4347                                 $      816.67
11/2/2005    BBV 4347                                 $      816.67
12/5/2005    BBV 4347                                 $      816.67
1/5/2006     BBV 4347                                 $      816.67
2/3/2006     BBV 4347                                 $      816.67
3/1/2006     BBV 4347                                 $      816.67
3/12/2006    BBV 0173                                 $    2,940.50
4/4/2006     BBV 4347                                 $      816.67
5/4/2006     BBV 4347                                 $      816.67
5/9/2006     BBV 0173                                 $   14,745.40
6/12/2006    BBV 4347                                 $      816.67
7/5/2006     BBV 4347                                 $      816.67
8/3/2006     BBV 4347                                 $      816.67
8/9/2006     SLB 5960                                 $   17,206.16
9/8/2006     BBV 4347                                 $      816.67
9/18/2006    BBV 4347                                 $      991.67
10/5/2006    BBV 4347                                 $      816.67
10/13/2006   BBV 4347                                 $      991.67
11/7/2006    BBV 4347                                 $      816.67
11/14/2006   BBV 4347                                 $      991.67
12/5/2006    BBV 4347                                 $      816.67
12/13/2006   BBV 4347                                 $      991.67
1/5/2007     BBV 4347                                 $      816.67
1/12/2007    BBV 4347                                 $      991.67
2/2/2007     BBV 4347                                 $      816.67
2/14/2007    BBV 4347                                 $      991.67
3/2/2007     BBV 4347                                 $      816.67
3/16/2007    BBV 4347                                 $      991.67
3/19/2007    BBV 0173                                 $    7,200.00
4/4/2007     BBV 4347                                 $      816.67
4/20/2007    BBV 4347                                 $      991.67
5/3/2007     BBV 4347                                 $      816.67
5/6/2007     SLB 5960                                 $   18,252.00
5/15/2007    BBV 4347                                 $      991.67
6/5/2007     BBV 4347                                 $      791.66
6/14/2007    BBV 4347                                 $      991.67
7/6/2007     BBV 4347                                 $      791.66
7/16/2007    BBV 4347                                 $      991.67
8/3/2007     BBV 4347                                 $      791.66
8/15/2007    BBV 4347                                 $      991.67
9/6/2007     BBV 4347                                 $      791.66
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 6 of 99 PageID #: 2476
              Aguilar, Richard and Melba - BLP Detail
      Date            Source           BLP Receipts    BLP Payments
9/13/2007    BBV 4347                                  $      991.67
10/4/2007    BBV 4347                                  $      791.66
10/12/2007   BBV 4347                                  $      991.67
11/2/2007    BBV 4347                                  $      791.66
11/14/2007   BBV 4347                                  $      991.67
12/5/2007    BBV 4347                                  $      791.66
12/13/2007   BBV 4347                                  $      991.67
1/3/2008     BBV 4347                                  $      791.66
1/14/2008    BBV 4347                                  $      991.67
2/5/2008     BBV 4347                                  $      791.66
2/8/2008     SLB 5960                 $    15,000.00
2/14/2008    BBV 4347                                  $      991.67
3/4/2008     BBV 4347                                  $      791.66
3/13/2008    BBV 4347                                  $      991.67
3/19/2008    BBV 6556                                  $    7,264.00
4/7/2008     BBV 4347                                  $      791.66
4/14/2008    BBV 4347                                  $      991.67
5/6/2008     BBV 4347                                  $      791.66
5/14/2008    BBV 4347                                  $      991.67
5/19/2008    BBV 6556                                  $   21,617.96
6/4/2008     BBV 4347                                  $      791.66
6/12/2008    BBV 4347                                  $      991.67
6/19/2008    SLB 5960                 $    20,000.00
6/23/2008    SLB 5960                 $     5,000.00
7/3/2008     BBV 4347                                  $      791.66
7/14/2008    BBV 4347                                  $      991.67
8/4/2008     BBV 4347                                  $      791.66
8/6/2008     BBV 4347                                  $    1,755.51
8/14/2008    BBV 4347                                  $      991.67
9/4/2008     BBV 4347                                  $      791.66
9/12/2008    BBV 4347                                  $      991.67
10/3/2008    BBV 4347                                  $      791.66
10/14/2008   BBV 4347                                  $      991.67
11/4/2008    BBV 4347                                  $      791.66
11/14/2008   BBV 4347                                  $      991.67
12/4/2008    BBV 4347                                  $      791.66
12/12/2008   BBV 4347                                  $      991.67
1/5/2009     BBV 4347                                  $      791.66
1/14/2009    BBV 4347                                  $      991.67
2/4/2009     BBV 4347                                  $      791.66
2/13/2009    BBV 4347                                  $      991.67
3/4/2009     BBV 4347                                  $      791.66
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 7 of 99 PageID #: 2477
                 Aguilar, Richard and Melba - BLP Detail
      Date                Source               BLP Receipts     BLP Payments
3/13/2009        BBV 4347                                       $      991.67
4/3/2009         BBV 4347                                       $      791.66
4/14/2009        BBV 4347                                       $      991.67
5/5/2009         BBV 4347                                       $      791.66
5/14/2009        BBV 4347                                       $      991.67
6/1/2009         BBV 4347                                       $   12,000.00
6/9/2009         BBV 4347                                       $      666.67
6/12/2009        BBV 4347                                       $      991.67
7/16/2009        BBV 4347                                       $      666.67
7/17/2009        BBV 4347                                       $      991.67
8/12/2009        BBV 4347                                       $      666.67
8/27/2009        BBV 4347                                       $      991.67
9/11/2009        Houston                                        $      666.67
9/22/2009        Houston                                        $      933.33
12/8/2009        BBV 4347                                       $    1,333.34
12/21/2009       BBV 4347                                       $    1,600.00
1/25/2010        BBV 4347                                       $    1,600.00
2/22/2010        SLB 5960                     $     10,000.00
2/25/2010        BBV 4347                                       $         1,600.00
3/19/2010        BBV 4347                                       $         1,600.00
4/29/2010        StLB 5739                                      $        10,000.00

BLP Receipts                                  $   356,810.49
BLP Payments                                                    $       255,368.19

Note: 2/22/10 receipt was a personal loan which was repaid on 4/29/10
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 8 of 99 PageID #: 2478
                          Amos, Preston - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

11/6/2009      SLB 5960        $   50,000.00

BLP Receipts                   $   50,000.00
BLP Payments                                   $         -
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 9 of 99 PageID #: 2479
                          Amos, R. Clark - BLP Detail
     Date         Account      BLP Receipts BLP Payments

8/25/2009      SLB 5960        $ 110,000.00
8/25/2009      SLB 5960        $ 140,000.00

BLP Receipts                   $ 250,000.00
BLP Payments                                  $       -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 10 of 99 PageID #: 2480
                          Barnes, Thomas - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

9/25/2008      SLB 5960        $   56,000.00

BLP Receipts                   $   56,000.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 11 of 99 PageID #: 2481
                  Barthel, Henry and Julia - BLP Detail
    Date          Account    BLP Receipts    BLP Payments

8/25/2009      SLB 5960     $    50,000.00

BLP Receipts                $    50,000.00
BLP Payments                                 $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 12 of 99 PageID #: 2482
   Bernstein, Mark (Northwest Properties, Ltd) - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

5/15/2008      SLB 5960       $ 1,000,000.00
10/13/2009     SLB 5739                        $   10,833.33
11/13/2009     SLB 5960                        $   10,833.33
12/8/2009      SLB 5960                        $   10,833.33
1/11/2010      SLB 5960                        $   10,833.33
2/8/2010       SLB 5960                        $   10,833.33
3/8/2010       SLB 5960                        $   10,833.33
4/15/2010      SLB 5960                        $   10,833.33

BLP Receipts                  $ 1,000,000.00
BLP Payments                                   $   75,833.31
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 13 of 99 PageID #: 2483
               Bertani, Thomas and Donna - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

3/13/2008      SLB 5960       $    25,289.00
3/13/2008      SLB 5960       $    43,066.00

BLP Receipts                  $    68,355.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 14 of 99 PageID #: 2484
                       Blaylock, Nina - BLP Detail
     Date             Account         BLP Receipts    BLP Payments

11/5/2000     IMAC & Loan Agreement   $   35,694.86
8/30/2001     Houston                                 $      490.80
10/2/2001     Houston                                 $      490.80
11/26/2001    Houston                                 $      490.80
11/26/2001    Houston                                 $      490.80
2/1/2002      Houston                                 $      490.80
2/1/2002      Houston                                 $      490.80
3/4/2002      Houston                                 $      490.80
4/3/2002      Houston                                 $      490.80
5/1/2002      Houston                                 $      490.80
5/31/2002     Houston                                 $      490.80
7/1/2002      Houston                                 $      490.80
8/1/2002      Houston                                 $      490.80
8/29/2002     Houston                                 $      490.80
10/1/2002     BBV 34347                               $      490.80
10/31/2002    BBV 34347                               $      490.80
12/4/2002     BBV 34347                               $      490.80
12/31/2002    BBV 34347                               $      490.80
1/31/2003     BBV 34347                               $      490.80
3/3/2003      BBV 34347                               $      490.80
4/3/2003      BBV 34347                               $      490.80
5/5/2003      BBV 34347                               $      490.80
6/2/2003      BBV 34347                               $      490.80
7/3/2003      BBV 34347                               $      490.80
8/4/2003      BBV 34347                               $      490.80
9/2/2003      BBV 34347                               $      490.80
10/2/2003     BBV 34347                               $      490.80
11/3/2003     BBV 34347                               $      490.80
12/2/2003     BBV 34347                               $      490.80
1/5/2004      BBV 34347                               $      490.80
2/3/2004      BBV 34347                               $      490.80
3/2/2004      BBV 34347                               $      490.80
4/6/2004      BBV 34347                               $      490.80
4/30/2004     BBV 34347                               $      490.80
6/2/2004      BBV 34347                               $      490.80
7/7/2004      BBV 34347                               $      490.80
8/5/2004      BBV 34347                               $      490.80
9/10/2004     BBV 34347                               $      490.80
10/19/2004    BBV 34347                               $      490.80
11/2/2004     BBV 34347                               $      490.80
12/2/2004     BBV 34347                               $      490.80
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 15 of 99 PageID #: 2485
                        Blaylock, Nina - BLP Detail
      Date             Account        BLP Receipts    BLP Payments
1/4/2005       BBV 34347                              $       490.80
2/7/2005       BBV 34347                              $       490.80
3/3/2005       BBV 34347                              $       490.80
4/5/2005       Houston                                $       490.80
5/11/2005      BBV 34347                              $       490.80
6/7/2005       BBV 34347                              $       490.80
7/7/2005       BBV 34347                              $       490.80
8/3/2005       BBV 34347                              $       490.80
9/6/2005       BBV 34347                              $       490.80
10/25/2005     BBV 0173                               $       846.41
7/19/2007      BBV 34347                              $     1,740.84
12/27/2007     BBV 34347                              $     1,763.68
3/27/2008      BBV 34347                              $     1,763.68
6/26/2008      BBV 34347                              $     1,763.68
9/25/2008      BBV 34347                              $     1,763.68
12/26/2008     BBV 34347                              $     1,763.68
3/26/2009      BBV 34347                              $     1,763.68
6/29/2009      BBV 34347                              $     2,004.83
9/25/2009      Houston                                $     2,004.83
3/19/2010      BBV 34347                              $     2,004.83

BLP Receipts                          $   35,694.86
BLP Payments                                          $    43,233.02
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 16 of 99 PageID #: 2486
             Borusiewich, Nicholas and Mary - BLP Detail
     Date            Account        BLP Receipts     BLP Payments

3/16/2004       Pion 6192           $    50,000.00
6/18/2004       Pion 6192           $    49,925.00
2/18/2005       Pion 6192           $   124,912.44
2/8/2008        IMAC                                 $    205,235.13
1/26/2010       SLB 5960                             $    134,388.97

BLP Receipts                       $    224,837.44
BLP Payments                                         $    339,624.10

Note: MTC wire of $173,928.08 principal and $31,307.05 interest for 2/8/08 payment
       Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 17 of 99 PageID #: 2487
                           Bosse, Noel - BLP Detail
Date            Account                  BLP Receipts     BLP Payments

2/12/2001       IMAC & Loan Agreements   $    20,000.00
6/6/2001        IMAC & Loan Agreements   $   750,000.00
6/15/2001       IMAC & Loan Agreements   $   299,640.94
6/15/2001       IMAC & Loan Agreements   $   226,479.06
6/15/2001       IMAC & Loan Agreements   $   223,880.00
7/25/2001       Houston                                   $     4,664.16
7/25/2001       Houston                                   $     4,718.31
8/15/2001       Houston                                   $     4,664.16
8/15/2001       Houston                                   $     4,718.31
9/6/2001        Houston                                   $    11,250.00
10/12/2001      Houston                                   $    11,250.00
12/3/2001       Houston                                   $    11,250.00
12/31/2001      Houston                                   $    11,250.00
2/1/2002        Houston                                   $    11,250.00
2/1/2002        Houston                                   $    11,250.00
3/4/2002        Houston                                   $    11,250.00
4/3/2002        Houston                                   $    11,250.00
5/13/2002       Houston                                   $    11,250.00
6/4/2002        Houston                                   $    11,250.00
6/18/2002       Houston                                   $    58,953.62
7/24/2002       IMAC & Loan Agreements   $   106,250.00
8/22/2002       Houston                                   $    11,250.00
8/29/2002       Houston                                   $    11,250.00
9/5/2002        BBV 4347                                  $    11,250.00
10/4/2002       BBV 4347                                  $    15,000.00
11/19/2002      BBV 4347                                  $    15,000.00
11/21/2002      BBV 4347                                  $       100.00
12/4/2002       BBV 4347                                  $    15,000.00
1/3/2003        BBV 4347                                  $    15,000.00
2/6/2003        BBV 4347                                  $    15,000.00
3/4/2003        BBV 4347                                  $    15,000.00
4/7/2003        BBV 4347                                  $    15,000.00
5/5/2003        BBV 4347                                  $    15,000.00
6/6/2003        BBV 4347                                  $    15,000.00
7/2/2003        BBV 4347                                  $    30,000.00
7/3/2003        BBV 4347                                  $    17,148.44
7/15/2003       Pion 6192                $    55,000.00
8/1/2003        Pion 6192                $    97,676.65
8/4/2003        Pion 6192                $    96,933.62
8/4/2003        BBV 4347                                  $    17,148.44
8/6/2003        Pion 6192                $    74,594.73
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 18 of 99 PageID #: 2488
                          Bosse, Noel - BLP Detail
Date          Account                  BLP Receipts   BLP Payments
8/27/2003     BBV 4347                                $    20,000.00
9/4/2003      BBV 4347                                $    17,148.44
10/3/2003     BBV 4347                                $    17,148.44
11/5/2003     BBV 4347                                $    17,148.44
11/28/2003    BBV 4347                                $    17,500.00
12/4/2003     BBV 4347                                $    17,148.44
1/7/2004      BBV 4347                                $    17,148.44
2/4/2004      BBV 4347                                $    17,148.44
3/2/2004      BBV 4347                                $    17,148.44
4/6/2004      BBV 4347                                $    17,148.44
4/20/2004     BBV 4347                                $    20,000.00
5/10/2004     BBV 4347                                $    17,148.44
6/9/2004      BBV 4347                                $    17,148.44
7/7/2004      BBV 4347                                $    17,148.44
8/9/2004      BBV 4347                                $    17,148.44
9/7/2004      BBV 4347                                $    17,148.44
10/6/2004     BBV 4347                                $    17,148.44
11/3/2004     BBV 4347                                $    17,148.44
12/3/2004     BBV 4347                                $    17,148.44
1/5/2005      BBV 4347                                $    17,148.44
2/7/2005      BBV 4347                                $    13,148.44
2/9/2005      BBV 4347                                $     4,000.00
3/3/2005      BBV 4347                                $    17,148.44
4/5/2005      Houston                                 $    17,148.44
4/7/2005      Pion 6412                               $    11,740.00
5/5/2005      BBV 4347                                $    17,148.44
6/3/2005      BBV 4347                                $    17,148.44
7/7/2005      BBV 4347                                $    14,404.69
7/21/2005     BBV 4347                                $     2,750.00
8/3/2005      BBV 4347                                $    14,404.69
8/11/2005     BBV 4347                                $     2,750.00
9/6/2005      BBV 4347                                $    14,404.69
9/14/2005     BBV 4347                                $     2,750.00
10/5/2005     BBV 4347                                $    14,404.69
10/13/2005    BBV 4347                                $     2,750.00
11/3/2005     BBV 4347                                $    14,404.69
11/14/2005    BBV 4347                                $     2,750.00
12/5/2005     BBV 4347                                $    14,404.69
12/13/2005    BBV 4347                                $     2,750.00
1/5/2006      BBV 4347                                $    14,404.69
1/12/2006     BBV 4347                                $     2,750.00
2/3/2006      BBV 4347                                $    14,404.69
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 19 of 99 PageID #: 2489
                         Bosse, Noel - BLP Detail
Date          Account                  BLP Receipts   BLP Payments
2/14/2006     BBV 4347                                $     2,750.00
3/6/2006      BBV 4347                                $    14,404.69
3/13/2006     BBV 4347                                $     2,750.00
4/5/2006      BBV 4347                                $    14,404.69
4/18/2006     BBV 4347                                $     2,750.00
4/21/2006     BBV 4347                                $     5,000.00
5/4/2006      BBV 4347                                $     9,404.69
5/12/2006     BBV 4347                                $     2,750.00
6/7/2006      BBV 4347                                $    14,404.69
6/14/2006     BBV 4347                                $     2,750.00
7/5/2006      BBV 4347                                $    14,404.69
7/14/2006     BBV 4347                                $     2,750.00
7/21/2006     BBV 4347                                $     8,845.31
8/11/2006     BBV 4347                                $    13,249.55
8/17/2006     SLB 5960                                $    50,000.00
8/17/2006     BBV 4347                                $     3,905.13
8/17/2006     BBV 4347                                $     8,745.31
8/21/2006     BBV 4347                                $       100.00
9/8/2006      BBV 4347                                $    13,249.55
9/18/2006     BBV 4347                                $     3,905.13
9/18/2006     BBV 4347                                $     8,845.31
10/5/2006     BBV 4347                                $    13,249.55
10/13/2006    BBV 4347                                $     3,905.13
10/13/2006    BBV 4347                                $     8,845.31
11/7/2006     BBV 4347                                $    13,249.55
11/14/2006    BBV 4347                                $     3,905.13
11/14/2006    BBV 4347                                $     8,845.31
12/5/2006     BBV 4347                                $    13,249.55
12/13/2006    BBV 4347                                $     3,905.13
12/13/2006    BBV 4347                                $     8,845.31
1/5/2007      BBV 4347                                $    13,249.55
1/12/2007     BBV 4347                                $     3,905.13
1/12/2007     BBV 4347                                $     8,845.31
2/2/2007      BBV 4347                                $    13,249.55
2/14/2007     BBV 4347                                $     3,905.13
2/14/2007     BBV 4347                                $     8,845.31
3/7/2007      BBV 4347                                $    13,249.55
3/16/2007     BBV 4347                                $     3,905.13
3/16/2007     BBV 4347                                $     8,845.31
4/4/2007      BBV 4347                                $    13,249.55
4/20/2007     BBV 4347                                $     3,905.13
4/20/2007     BBV 4347                                $     8,845.31
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 20 of 99 PageID #: 2490
                         Bosse, Noel - BLP Detail
Date          Account                  BLP Receipts   BLP Payments
5/3/2007      BBV 4347                                $    13,249.55
5/14/2007     BBV 4347                                $     3,905.13
5/14/2007     BBV 4347                                $     8,845.31
6/5/2007      BBV 4347                                $    13,249.55
6/14/2007     BBV 4347                                $     3,905.13
6/14/2007     BBV 4347                                $     8,845.31
7/6/2007      BBV 4347                                $    13,249.55
7/16/2007     BBV 4347                                $     3,905.13
7/16/2007     BBV 4347                                $     8,845.31
8/3/2007      BBV 4347                                $    13,249.55
8/15/2007     BBV 4347                                $     3,905.13
8/15/2007     BBV 4347                                $     8,845.31
9/6/2007      BBV 4347                                $    13,249.55
9/7/2007      BBV 4347                                $    26,000.00
10/5/2007     BBV 4347                                $    26,000.00
11/2/2007     BBV 4347                                $    26,000.00
12/5/2007     BBV 4347                                $    26,000.00
1/3/2008      BBV 4347                                $    26,000.00
2/5/2008      BBV 4347                                $    26,000.00
3/4/2008      BBV 4347                                $    26,000.00
4/7/2008      BBV 4347                                $    26,000.00
5/6/2008      BBV 4347                                $    26,000.00
6/4/2008      BBV 4347                                $    26,000.00
7/3/2008      BBV 4347                                $    26,000.00
8/4/2008      BBV 4347                                $    26,000.00
9/5/2008      BBV 4347                                $    12,351.00
9/12/2008     BBV 4347                                $     4,649.00
9/12/2008     BBV 4347                                $     9,000.00
10/3/2008     BBV 4347                                $     4,649.00
10/3/2008     BBV 4347                                $     9,000.00
10/3/2008     BBV 4347                                $    12,351.00
11/4/2008     BBV 4347                                $     4,649.00
11/4/2008     BBV 4347                                $     9,000.00
11/4/2008     BBV 4347                                $    12,351.00
12/2/2008     BBV 4347                                $    12,351.00
12/4/2008     BBV 4347                                $     4,649.00
12/4/2008     BBV 4347                                $     9,000.00
1/12/2009     BBV 4347                                $    12,351.00
1/13/2009     BBV 4347                                $     4,649.00
1/13/2009     BBV 4347                                $     9,000.00
1/26/2009     BBV 4347                                $    12,351.00
2/4/2009      BBV 4347                                $    12,351.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 21 of 99 PageID #: 2491
                          Bosse, Noel - BLP Detail
Date           Account                 BLP Receipts     BLP Payments
2/4/2009       BBV 4347                                 $    12,351.00
2/12/2009      BBV 4347                                 $     4,649.00
2/12/2009      BBV 4347                                 $     9,000.00
3/4/2009       BBV 4347                                 $    12,351.00
3/5/2009       BBV 4347                                 $    12,351.00
3/12/2009      BBV 4347                                 $     4,649.00
3/12/2009      BBV 4347                                 $     9,000.00
4/3/2009       BBV 4347                                 $    12,351.00
4/3/2009       BBV 4347                                 $    12,351.00
4/15/2009      BBV 4347                                 $     4,649.00
4/15/2009      BBV 4347                                 $     9,000.00
5/5/2009       BBV 4347                                 $    12,351.00
5/13/2009      BBV 4347                                 $     4,649.00
5/13/2009      BBV 4347                                 $     9,000.00
5/21/2009      SLB 5960                $    12,351.00
6/9/2009       BBV 4347                                 $    12,351.00
6/12/2009      BBV 4347                                 $     4,649.00
6/12/2009      BBV 4347                                 $     9,000.00
7/16/2009      BBV 4347                                 $    12,351.00
7/17/2009      BBV 4347                                 $     4,649.00
7/17/2009      BBV 4347                                 $     9,000.00
7/17/2009      BBV 4347                                 $    20,000.00
8/12/2009      BBV 4347                                 $    12,351.00
8/24/2009      BBV 4347                                 $     4,649.00
8/24/2009      BBV 4347                                 $     9,000.00
9/11/2009      Houston                                  $     5,741.13
9/21/2009      Houston                                  $     9,000.00
9/21/2009      Houston                                  $     6,609.87
9/25/2009      Houston                                  $     4,649.00
10/5/2009      BBV 4347                                 $     9,900.00
11/3/2009      BBV 4347                                 $     7,100.00
11/3/2009      BBV 4347                                 $     9,000.00
12/8/2009      BBV 4347                                 $     5,741.16
12/8/2009      BBV 4347                                 $     9,000.00
12/8/2009      BBV 4347                                 $    11,258.87
3/18/2010      BBV 4347                                 $     5,741.13
3/18/2010      BBV 4347                                 $     9,000.00
3/18/2010      BBV 4347                                 $    11,258.87

BLP Receipts                           $ 1,962,806.00
BLP Payments                                            $ 2,300,380.85
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 22 of 99 PageID #: 2492
                             Bosse, Noel - BLP Detail
Date             Account                      BLP Receipts      BLP Payments
Note: 5/21/09 receipt returned money deposited to account by mistake
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 23 of 99 PageID #: 2493
                            Bova, Kristy - BLP Detail
     Date         Account      BLP Receipts     BLP Payments

4/29/2010       BBV 6556      $      5,000.00

BLP Receipts                  $      5,000.00
BLP Payments                                    $        -

Note: No loan agreement provided per Bova
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 24 of 99 PageID #: 2494
               Caldwell, David and Theresa - BLP Detail
     Date             Account           BLP Receipts     BLP Payments

8/10/2001      IMAC & Loan Agreements   $   182,303.67
8/28/2001      IMAC & Loan Agreements   $     9,945.47
5/20/2002      IMAC & Loan Agreements   $    12,949.96
12/2/2002      IMAC & Loan Agreements   $    51,556.20
2/7/2003       BBV 3145                 $    35,697.32
7/14/2003      BBV 3145                 $    10,453.94
4/9/2004       BBV 0173                                  $   20,000.00
4/9/2004       BBV 0173                 $    20,000.00
6/22/2004      BBV 3145                 $    19,598.73
4/22/2005      BBV 0173                 $    17,564.00

BLP Receipts                            $   360,069.29
BLP Payments                                             $   20,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 25 of 99 PageID #: 2495
                   Carpenter, Ruth and Jerry - BLP Detail
     Date           Account          BLP Receipts    BLP Payments

8/27/2002    IMAC & Loan Agreement   $   53,522.24
10/18/2002   BBV 4347                                $     624.43
10/31/2002   BBV 4347                                $     624.43
11/25/2002   BBV 4347                                $     624.43
12/19/2002   BBV 4347                                $     624.43
1/24/2003    BBV 4347                                $     624.43
2/25/2003    BBV 4347                                $     624.43
3/26/2003    BBV 4347                                $     624.43
4/25/2003    BBV 4347                                $     624.43
5/28/2003    BBV 4347                                $     624.43
6/24/2003    BBV 4347                                $     624.43
7/18/2003    BBV 4347                                $     624.43
8/22/2003    BBV 4347                                $     624.43
9/19/2003    BBV 4347                                $     624.43
10/27/2003   BBV 4347                                $     624.43
11/19/2003   BBV 3145                $   50,000.00
11/28/2003   BBV 4347                                $      624.43
12/18/2003   BBV 4347                                $      624.43
1/26/2004    BBV 4347                                $      624.43
2/18/2004    BBV 4347                                $    2,000.00
2/18/2004    BBV 4347                                $      624.43
3/29/2004    BBV 4347                                $      624.43
4/22/2004    BBV 4347                                $      624.43
5/20/2004    BBV 4347                                $    2,000.00
5/20/2004    BBV 4347                                $      624.43
7/1/2004     BBV 4347                                $      624.43
7/22/2004    BBV 4347                                $      624.43
8/20/2004    BBV 4347                                $    2,000.00
8/20/2004    BBV 4347                                $      624.43
9/22/2004    BBV 4347                                $      624.43
10/25/2004   BBV 4347                                $      624.43
11/22/2004   BBV 4347                                $    2,000.00
11/22/2004   BBV 4347                                $      624.43
12/20/2004   BBV 4347                                $      624.43
1/20/2005    BBV 4347                                $      624.43
2/24/2005    BBV 4347                                $    2,000.00
2/24/2005    BBV 4347                                $      624.43
3/18/2005    BBV 4347                                $      624.43
4/21/2005    Houston                                 $      624.43
5/20/2005    BBV 4347                                $    2,000.00
5/20/2005    BBV 4347                                $      624.43
6/22/2005    BBV 4347                                $      624.43
7/21/2005    BBV 4347                                $      624.43
8/24/2005    BBV 4347                                $    2,000.00
8/24/2005    BBV 4347                                $      624.43
9/26/2005    BBV 4347                                $      624.43
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 26 of 99 PageID #: 2496
                     Carpenter, Ruth and Jerry - BLP Detail
      Date            Account     BLP Receipts     BLP Payments
10/26/2005     BBV 4347                            $      624.43
11/17/2005     BBV 4347                            $    2,000.00
11/21/2005     BBV 4347                            $      624.43
1/3/2006       BBV 4347                            $      624.43
1/20/2006      BBV 4347                            $      624.43
2/17/2006      BBV 4347                            $    2,000.00
2/23/2006      BBV 4347                            $      624.43
3/23/2006      BBV 4347                            $      624.43
4/21/2006      BBV 4347                            $      624.43
5/31/2006      BBV 4347                            $    2,000.00
5/31/2006      BBV 4347                            $      624.43
6/22/2006      BBV 4347                            $      624.43
7/21/2006      BBV 4347                            $      624.43
8/21/2006      BBV 4347                            $    2,000.00
8/21/2006      BBV 4347                            $      624.43
9/22/2006      BBV 4347                            $      624.43
10/24/2006     BBV 4347                            $      624.43
11/21/2006     BBV 4347                            $    2,000.00
11/29/2006     BBV 4347                            $      624.43
12/22/2006     BBV 4347                            $      624.43
1/22/2007      BBV 4347                            $      624.43
2/26/2007      BBV 4347                            $    2,000.00
2/26/2007      BBV 4347                            $      624.43
3/22/2007      BBV 4347                            $      624.43
4/26/2007      BBV 4347                            $      624.43
5/23/2007      BBV 4347                            $    2,000.00
5/24/2007      BBV 4347                            $      624.43
7/2/2007       BBV 4347                            $      624.43
7/30/2007      BBV 4347                            $      624.43
8/17/2007      BBV 0173                            $   54,592.64
8/21/2007      BBV 4347                            $    2,000.00
8/24/2007      BBV 4347                            $      624.43
11/20/2007     BBV 4347                            $    2,000.00
2/21/2008      BBV 4347                            $    2,000.00
5/22/2008      BBV 4347                            $    2,000.00
8/21/2008      BBV 4347                            $    2,000.00
11/21/2008     BBV 4347                            $    2,000.00
2/25/2009      BBV 4347                            $    2,000.00
5/26/2009      BBV 4347                            $    2,000.00
8/25/2009      BBV 4347                            $    2,000.00
12/24/2009     BBV 4347                            $    2,000.00
3/5/2010       SLB 5960                            $    5,000.00

BLP Receipts                      $   103,522.24
BLP Payments                                       $   145,058.44
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 27 of 99 PageID #: 2497
                           Carrell, Albert - BLP Detail
     Date         Account       BLP Receipts    BLP Payments

11/21/2005     Pion 6192       $    74,450.00
2/14/2008      BBV 6556        $    10,000.00
12/31/2009     BBV 4347                         $    6,000.00
3/11/2010      BBV 4347                         $   12,000.00

BLP Receipts                   $    84,450.00
BLP Payments                                    $   18,000.00
       Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 28 of 99 PageID #: 2498
                           Cobb, Bonita - BLP Detail
Date            Account         BLP Receipts     BLP Payments

7/6/2007        SLB 5960        $   150,000.00
8/22/2007       SLB 5960        $   100,000.00
7/17/2008       SLB 5960        $   250,000.00
9/30/2008       SLB 5960        $   250,000.00
10/3/2008       SLB 5960        $   500,000.00
10/10/2008      SLB 5960        $   250,000.00
1/22/2009       SLB 5960        $   250,000.00
4/1/2009        SLB 5960        $   297,536.00
4/7/2009        SLB 5960        $     2,464.00
7/20/2009       BBV 4347                         $    27,000.00
12/4/2009       SLB 5960                         $   120,000.00
1/20/2010       SLB 5960                         $     2,400.00

BLP Receipts                    $ 2,050,000.00
BLP Payments                                     $   149,400.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 29 of 99 PageID #: 2499
             Cobb, Sharon and Shahan, John - BLP Detail
     Date                Account           BLP Receipts      BLP Payments

10/24/2003      Pion 6192                  $    25,000.00
12/11/2003      IMAC & Loan Agreement      $   100,000.00
3/19/2004       BBV 3145                   $   100,000.00
7/26/2004       Pion 6192                  $   100,000.00
8/2/2006        SLB 5960                   $    20,000.00
8/9/2006        SLB 5960                   $    20,000.00
9/10/2009       SLB 5960                   $    75,000.00

BLP Receipts                               $   440,000.00
BLP Payments                                                 $        -

Note: No loan agreement provided for 9/10/09 loan per Cobb
Note: Cobb received numerous additional payments for fees
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 30 of 99 PageID #: 2500
                 Cook, Casey or Dolores - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

12/17/2009     SLB 5960       $    50,000.00

BLP Receipts                  $    50,000.00
BLP Payments                                   $        -
       Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 31 of 99 PageID #: 2501
                          Cronkhite, Jerry - BLP Detail
Date            Account         BLP Receipts     BLP Payments

10/10/2006      SLB 5960        $   100,700.00
1/7/2008        BBV 4347                         $     4,732.90
4/7/2008        BBV 4347                         $     4,732.90
7/8/2008        BBV 4347                         $     4,732.90
10/7/2008       BBV 4347                         $     4,732.90
1/12/2009       BBV 4347                         $     4,159.92
4/7/2009        BBV 4347                         $     4,159.92
7/17/2009       BBV 4347                         $     4,159.92
11/20/2009      SLB 5739                         $     4,159.92
12/4/2009       SLB 5960                         $       300.00
1/28/2010       BBV 4347                         $       957.35
3/9/2010        BBV 4347                         $     5,000.00

BLP Receipts                    $   100,700.00
BLP Payments                                     $    41,828.63
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 32 of 99 PageID #: 2502
                      Cunningham, Mark - BLP Detail
    Date           Account   BLP Receipts   BLP Payments

11/11/2008     SLB 5960      $ 193,319.89
3/25/2010      SLB 5960                     $    1,250.00

BLP Receipts                 $ 193,319.89
BLP Payments                                $    1,250.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 33 of 99 PageID #: 2503
                          Currier, Darryl - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

6/5/2009       SLB 5960        $   98,750.00

BLP Receipts                   $   98,750.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 34 of 99 PageID #: 2504
                          Currier, Roy - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

6/5/2009       SLB 5960       $    98,750.00




BLP Receipts                  $    98,750.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 35 of 99 PageID #: 2505
               Currier, Samuel and Barbara - BLP Detail
     Date       Account    BLP Receipts     BLP Payments

6/2/2003       BBV 3145    $    50,000.00
6/2/2004       BBV 0173    $    16,250.00
12/20/2004     BBV 0173    $   399,425.00
3/18/2005      BBV 4347                     $    15,500.00
6/17/2005      BBV 4347                     $    15,500.00
9/6/2005       BBV 4347                     $    15,500.00
12/8/2005      BBV 4347                     $    15,500.00
3/6/2006       BBV 4347                     $    15,500.00
6/14/2006      BBV 4347                     $    15,500.00
9/8/2006       BBV 4347                     $    15,500.00
12/6/2006      BBV 4347                     $    15,500.00
3/7/2007       BBV 4347                     $    15,500.00
6/1/2007       BBV 0173    $    50,000.00
6/1/2007       BBV 0173    $    50,000.00
6/6/2007       BBV 4347                     $    15,500.00
9/6/2007       BBV 4347                     $    15,500.00
12/6/2007      BBV 4347                     $    15,500.00
3/6/2008       BBV 4347                     $    15,500.00
6/5/2008       BBV 4347                     $    15,500.00
6/10/2008      BBV 6556    $    50,000.00
9/8/2008       BBV 4347                     $    15,500.00
3/6/2009       BBV 4347                     $    15,500.00
6/9/2009       BBV 4347                     $    15,500.00
9/11/2009      Houston                      $    15,000.00
12/21/2009     BBV 4347                     $    15,500.00
3/22/2010      BBV 4347                     $    15,500.00

BLP Receipts               $   615,675.00
BLP Payments                                $   309,500.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 36 of 99 PageID #: 2506
                      Currier, Thomas - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

6/5/2009       SLB 5960       $   198,750.00

BLP Receipts                  $   198,750.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 37 of 99 PageID #: 2507
                          Davis, Charles - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

1/23/2008      SLB 5960       $   144,863.24
2/12/2008      SLB 5960       $   211,627.35
2/20/2008      SLB 5960       $   165,970.00
3/30/2009      SLB 5960                        $   12,900.00

BLP Receipts                  $   522,460.59
BLP Payments                                   $   12,900.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 38 of 99 PageID #: 2508
                      Gaylor, William - BLP Detail
     Date       Account    BLP Receipts     BLP Payments

6/8/2005      BBV 0173     $    50,000.00
9/8/2005      BBV 4347                      $    2,000.00
12/1/2005     BBV 0173     $    50,000.00
12/8/2005     BBV 4347                      $    2,000.00
3/1/2006      BBV 4347                      $    2,000.00
3/23/2006     BBV 4347                      $    2,000.00
6/12/2006     BBV 4347                      $    4,000.00
9/8/2006      BBV 4347                      $    2,000.00
9/12/2006     BBV 4347                      $    2,000.00
10/5/2006     BBV 0173     $   100,000.00
12/5/2006     BBV 4347                      $    2,000.00
12/12/2006    BBV 4347                      $    2,000.00
1/9/2007      BBV 4347                      $    4,000.00
1/12/2007     BBV 4347                      $    4,000.00
1/17/2007     BBV 0173     $    50,000.00
3/2/2007      BBV 4347                      $    2,000.00
3/9/2007      BBV 4347                      $    2,000.00
4/9/2007      BBV 4347                      $    4,000.00
4/20/2007     BBV 4347                      $    2,000.00
6/5/2007      BBV 4347                      $    2,000.00
6/12/2007     BBV 4347                      $    2,000.00
7/9/2007      BBV 4347                      $    4,000.00
7/19/2007     BBV 4347                      $    2,000.00
9/6/2007      BBV 4347                      $    2,000.00
9/10/2007     BBV 4347                      $    2,000.00
10/9/2007     BBV 4347                      $    4,000.00
12/5/2007     BBV 4347                      $    2,000.00
12/11/2007    BBV 4347                      $    2,000.00
1/9/2008      BBV 4347                      $    4,000.00
1/22/2008     BBV 4347                      $    2,000.00
3/4/2008      BBV 4347                      $    2,000.00
3/7/2008      BBV 4347                      $    2,000.00
4/9/2008      BBV 4347                      $    4,000.00
4/21/2008     BBV 4347                      $    2,000.00
6/4/2008      BBV 4347                      $    2,000.00
6/11/2008     BBV 4347                      $    2,000.00
7/9/2008      BBV 4347                      $    4,000.00
7/21/2008     BBV 4347                      $    2,000.00
9/4/2008      BBV 4347                      $    2,000.00
9/9/2008      BBV 4347                      $    2,000.00
10/9/2008     BBV 4347                      $    4,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 39 of 99 PageID #: 2509
                      Gaylor, William - BLP Detail
      Date       Account   BLP Receipts     BLP Payments
10/21/2008     BBV 4347                     $    2,000.00
12/4/2008      BBV 4347                     $    2,000.00
12/9/2008      BBV 4347                     $    2,000.00
1/12/2009      BBV 4347                     $    4,000.00
1/21/2009      BBV 4347                     $    2,000.00
3/4/2009       BBV 4347                     $    2,000.00
3/9/2009       BBV 4347                     $    2,000.00
4/9/2009       BBV 4347                     $    4,000.00
4/17/2009      BBV 4347                     $    2,000.00
6/9/2009       BBV 4347                     $    2,000.00
6/10/2009      BBV 4347                     $    2,000.00
7/16/2009      BBV 4347                     $    4,000.00
7/21/2009      BBV 4347                     $    2,000.00
9/11/2009      Houston                      $    2,000.00
9/15/2009      Houston                      $    2,000.00
1/28/2010      BBV 4347                     $    4,000.00
3/18/2010      BBV 4347                     $    3,625.00
3/19/2010      BBV 4347                     $    2,000.00

BLP Receipts               $   250,000.00
BLP Payments                                $   139,625.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 40 of 99 PageID #: 2510
                       Givens, Clayton - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

11/9/2001      IMAC & Loan Agreement   $    10,000.00
3/17/2004      Pion 6192               $    20,000.00
9/12/2008      SLB 5960                $   100,000.00

BLP Receipts                           $   130,000.00
BLP Payments                                            $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 41 of 99 PageID #: 2511
               Givens, Linda (and Doug - deceased)
             dba Albion Consultants, LTD - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

1/13/2000     IMAC & Loan Agreements   $   131,782.00
6/6/2000      IMAC & Loan Agreement    $    10,000.00
7/28/2000     IMAC & Loan Agreement    $    31,866.35
7/28/2000     IMAC & Loan Agreement    $    31,866.35
7/28/2000     IMAC & Loan Agreement    $    31,866.35
7/28/2000     IMAC & Loan Agreement    $    34,799.65
7/28/2000     IMAC & Loan Agreement    $    34,799.65
7/28/2000     IMAC & Loan Agreement    $    34,799.65
10/20/2000    IMAC & Loan Agreement    $    35,089.68
10/20/2000    IMAC & Loan Agreement    $    62,959.96
11/14/2000    IMAC & Loan Agreement    $    35,089.68
11/14/2000    IMAC & Loan Agreement    $    62,959.96
12/21/2000    IMAC & Loan Agreement    $   150,000.00
12/21/2000    IMAC & Loan Agreement    $   150,000.00
1/3/2001      IMAC                     $    70,000.00
2/7/2001      IMAC & Loan Agreement    $    22,463.42
2/7/2001      IMAC & Loan Agreement    $     4,968.64
2/24/2001     IMAC & Loan Agreement    $    24,170.31
4/30/2001     IMAC & Loan Agreement    $    80,413.86
5/14/2002     IMAC                     $    92,773.97
9/29/2002     IMAC & Loan Agreement    $    25,000.00
3/11/2003     Pion 6192                $   120,000.00
4/28/2003     IMAC & Loan Agreement    $    90,000.00
3/12/2003     Pion 6192                $    42,000.00
3/24/2004     Pion 6192                $    86,160.00
3/24/2004     Pion 6192                $   113,840.00
6/29/2004     Pion 6192                                 $    2,955.00
7/8/2004      Pion 6192                                 $   17,545.99
10/25/2004    Pion 6192                                 $   27,245.01
10/25/2004    Pion 6192                                 $    2,955.00
12/28/2004    Pion 6192                                 $    2,955.00
12/28/2004    Pion 6192                                 $   17,545.99
3/25/2005     Pion 6192                                 $    2,955.00
3/25/2005     Pion 6192                                 $   30,294.11
6/27/2005     Pion 6192                                 $    2,955.00
6/27/2005     Pion 6192                                 $   14,387.72
9/2/2005      BBV 0173                                  $   15,906.40
9/30/2005     BBV 0173                                  $    2,955.00
9/30/2005     BBV 0173                                  $   10,955.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 42 of 99 PageID #: 2512
                 Givens, Linda (and Doug - deceased)
               dba Albion Consultants, LTD - BLP Detail
11/2/2005      Pion 6192                               $    10,000.00
3/12/2006      BBV 0173                                $    35,000.00
3/15/2006      BBV 0173                                $     9,699.02
3/15/2006      BBV 0173                                $    13,067.70
3/15/2006      BBV 0173                                $    24,823.58
7/25/2006      Pion 6192                               $    11,000.00
8/17/2006      SLB 5960                                $    29,000.00
1/2/2007       BBV 0173                                $    40,000.00
3/16/2007      BBV 0173                                $    35,000.00
7/5/2007       BBV 0173                                $    40,000.00
1/14/2008      SLB 5960                                $    49,649.50
3/4/2008       SLB 5960                                $    12,118.70
3/4/2008       SLB 5960                                $    11,094.31
3/28/2008      BBV 226556                              $    44,682.44
5/19/2008      BBV 226556                              $    48,173.39
5/19/2008      BBV 226556                              $    71,481.84
8/19/2008      BBV 226556                              $    16,826.00
8/19/2008      BBV 226556                              $    21,622.11
12/24/2008     BBV 226556                              $    53,765.99
3/13/2009      SLB 4828                                $    60,073.89
6/8/2009       SLB 5960                                $   120,000.00
12/10/2009     BBV 34347                               $    19,800.00
3/4/2010       SLB 5960                                $    30,000.00

BLP Receipts                          $ 1,609,669.48
BLP Payments                                           $   958,488.69
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 43 of 99 PageID #: 2513
                       Givens, Robert - BLP Detail
     Date             Account           BLP Receipts     BLP Payments

5/25/2001      IMAC & Loan Agreements   $    30,000.00
6/15/2001      IMAC & Loan Agreements   $    70,000.00
8/7/2009       SLB 5960                 $    50,000.00

BLP Receipts                            $   150,000.00
BLP Payments                                             $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 44 of 99 PageID #: 2514
               Glisson, Susan and Michael - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

9/26/2008      SLB 5960       $   250,000.00
12/26/2008     BBV 4347                        $    9,500.00
3/27/2009      BBV 4347                        $    9,500.00
6/29/2009      BBV 4347                        $    9,500.00
9/25/2009      Houston                         $    9,500.00
1/25/2010      BBV 4347                        $    9,500.00

BLP Receipts                  $   250,000.00
BLP Payments                                   $   47,500.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 45 of 99 PageID #: 2515
                         Green, Carol - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

12/9/2002      IMAC & Loan Agreement   $    47,531.97
4/25/2003      BBV 4347                                 $    2,079.52
6/6/2003       BBV 4347                                 $    2,079.52
9/19/2003      BBV 4347                                 $    2,079.52
12/8/2003      BBV 4347                                 $    2,079.52
3/10/2004      BBV 4347                                 $    2,079.52
6/9/2004       BBV 4347                                 $    2,079.52
9/10/2004      BBV 4347                                 $    2,079.52
12/9/2004      BBV 4347                                 $    2,079.52
3/10/2005      BBV 4347                                 $    2,079.52
3/14/2005      BBV 4347                                 $      224.32
6/14/2005      BBV 4347                                 $    2,303.84
9/8/2005       BBV 4347                                 $    2,303.84
12/8/2005      BBV 4347                                 $    2,303.84
3/9/2006       BBV 4347                                 $    2,303.84
6/14/2006      BBV 4347                                 $    2,303.84
9/18/2006      BBV 4347                                 $    2,303.84
12/12/2006     BBV 4347                                 $    2,303.84
3/8/2007       BBV 4347                                 $    2,303.84
6/12/2007      BBV 4347                                 $    2,303.84
9/10/2007      BBV 4347                                 $    2,303.84
9/27/2007      SLB 5960                $   162,752.00
12/11/2007     BBV 4347                                 $    2,303.84
3/7/2008       BBV 4347                                 $    2,303.84
6/11/2008      BBV 4347                                 $    2,303.84
9/9/2008       BBV 4347                                 $    2,303.84
10/1/2008      BBV 4347                                 $    6,800.00
12/9/2008      BBV 4347                                 $    2,303.84
1/12/2009      BBV 4347                                 $    6,763.68
3/9/2009       BBV 4347                                 $    2,303.82
4/1/2009       BBV 4347                                 $    6,763.68
6/10/2009      BBV 4347                                 $    2,303.82
7/20/2009      BBV 4347                                 $    6,763.68
9/15/2009      Houston                                  $    2,303.82
12/9/2009      BBV 4347                                 $    6,763.68
1/28/2010      BBV 4347                                 $    2,303.82

BLP Receipts                           $   210,283.97
BLP Payments                                            $   96,567.60
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 46 of 99 PageID #: 2516
                Harp, Randall V and Aubrey - BLP Detail
     Date          Account      BLP Receipts     BLP Payments

3/26/2010       BBV 6556       $     10,000.00

BLP Receipts                   $     10,000.00
BLP Payments                                     $        -

Note: No loan agreement for 3/26/10 deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 47 of 99 PageID #: 2517
                            Harris, Rachael - BLP Detail
     Date         Account      BLP Receipts      BLP Payments

6/8/2005         BRC          $     91,175.00
6/12/2006        BBV 3145                       $        14,766.00
6/14/2006        BBV 3145                       $        14,766.00
7/5/2006         BBV 3145                       $        92,896.07

BLP Receipts                  $     91,175.00
BLP Payments                                    $    122,428.07

Note: Loan agreement issued in British Pounds Sterling
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 48 of 99 PageID #: 2518
                          Harrison, Billy - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

9/23/2008      SLB 5960        $   45,000.00

BLP Receipts                   $   45,000.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 49 of 99 PageID #: 2519
                            Hash, Otis - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

3/13/2008      SLB 5960       $    49,425.00
6/16/2008      BBV 34347                       $    2,038.78
9/16/2008      BBV 34347                       $    2,038.78
12/12/2008     BBV 34347                       $    2,038.78
12/18/2008     BBV 34347                       $    2,038.78
12/23/2008     BBV 34347      $     2,038.78
3/12/2009      BBV 34347                       $    2,038.78
3/30/2009      SLB 5960       $     4,000.00
6/12/2009      BBV 34347                       $    2,109.53
6/29/2009      BBV 34347                       $      165.00
9/22/2009      Houston                         $    2,109.53
9/25/2009      Houston                         $      165.00
1/7/2010       BBV 34347                       $    2,274.53

BLP Receipts                  $    55,463.78
BLP Payments                                   $   17,017.49
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 50 of 99 PageID #: 2520
                    Hogshooter, Donna - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

12/14/2007     SLB 5960       $    49,425.00
3/13/2009      BBV 4347                        $    2,345.72
6/15/2009      BBV 4347                        $    2,345.72
9/22/2009      Houston                         $    2,345.72
12/28/2009     BBV 4347                        $      500.00
1/4/2010       BBV 4347                        $    2,345.70
1/27/2010      SLB 5960       $      400.00
3/18/2010      BBV 4347                        $    2,345.72

BLP Receipts                  $    49,825.00
BLP Payments                                   $   12,228.58
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 51 of 99 PageID #: 2521
                  Holland John and Audrey - BLP Detail
     Date            Account        BLP Receipts     BLP Payments

2/20/2008       SLB 5960           $   201,099.00
3/17/2008       SLB 5960           $    36,993.00
3/18/2008       SLB 5960           $     4,809.00
5/27/2008       BBV 6556           $        30.91
5/27/2008       BBV 6556           $     7,589.68
5/27/2008       BBV 6556           $     7,772.12
5/27/2008       BBV 6556           $     8,066.58
5/27/2008       BBV 6556           $    28,323.90
5/27/2008       BBV 6556           $    93,216.81
1/20/2010       SLB 5960           $    60,000.00
3/19/2010       SLB 5960                             $      6,639.43
3/22/2010       SLB 5960           $     27,034.68
4/13/2010       SLB 5960           $     22,755.18

BLP Receipts                       $   497,690.86
BLP Payments                                         $      6,639.43

Note: No loan agreement issued for 3/22/10 and 4/13/10 BLP Receipts
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 52 of 99 PageID #: 2522
                       Horner, Donald - BLP Detail
     Date             Account           BLP Receipts    BLP Payments

8/10/2001      IMAC & Loan Agreements   $   36,105.96
12/9/2002      IMAC & Loan Agreements   $   50,000.00
4/29/2010      BBV 4347                                 $    4,100.00
1/20/2005      BBV 3145                                 $   19,031.25
12/1/2005      BBV 0173                                 $    8,750.00
12/9/2006      BBV 0173                                 $    8,750.00
12/12/2007     BBV 0173                                 $    8,750.00
12/18/2008     BBV 4347                                 $    8,750.00

BLP Receipts                            $   86,105.96
BLP Payments                                            $   58,131.25
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 53 of 99 PageID #: 2523
               Howard, Richard and Doris - BLP Detail
     Date       Account    BLP Receipts    BLP Payments

3/27/2008      BBV 6556    $   50,000.00
7/7/2008       BBV 4347                    $    2,062.50
10/2/2008      BBV 4347                    $    2,062.50
1/29/2009      BBV 4347                    $    2,062.50
4/13/2009      BBV 4347                    $    2,062.50
7/19/2009      BBV 4347                    $    2,062.50
12/11/2009     BBV 4347                    $    2,062.50
3/22/2010      BBV 4347                    $    2,062.50

BLP Receipts               $   50,000.00
BLP Payments                               $   14,437.50
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 54 of 99 PageID #: 2524
                 Jordon, Gifford and Barbara - BLP Detail
     Date            Account        BLP Receipts      BLP Payments

11/4/2009       SLB 5960            $    30,000.00
11/4/2009       SLB 5960            $    24,000.00
1/8/2010        BBV 4347                             $        543.75

BLP Receipts                        $    54,000.00
BLP Payments                                         $        543.75

Note: Jordon received numerous additional payments for fees
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 55 of 99 PageID #: 2525
               Kellogg, David W and Mary S - BLP Detail
     Date          Account      BLP Receipts     BLP Payments

3/26/2010       BBV 226556 $          5,000.00

BLP Receipts                   $      5,000.00
BLP Payments                                     $        -

Note: No loan agreement for 3/26/10 deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 56 of 99 PageID #: 2526
              Kuhlo, Stanley (Fiero Masonry) - BLP Detail
     Date            Account         BLP Receipts     BLP Payments

6/23/2006        Pion 6192          $    45,000.00
7/12/2007        SLB 5960           $    46,900.00
12/21/2007       SLB 5960           $    99,425.00
7/17/2008        SLB 5960           $    22,126.39
4/30/2009        SLB 5960           $   150,000.00
6/29/2009        SLB 5960           $    50,000.00

BLP Receipts                        $   413,451.39
BLP Payments                                          $            -

Note: 4/30/09 deposit of $300,000 includes $150,000 for Deborah Wantling (Kuhlo's sister)
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 57 of 99 PageID #: 2527
                     Leonard, Winifred - BLP Detail
     Date             Account          BLP Receipts    BLP Payments

2/13/2001     IMAC & Loan Agreements   $   40,000.00
4/10/2001     IMAC & Loan Agreements   $   10,000.00
9/10/2001     Houston                                  $      550.00
9/10/2001     Houston                                  $      137.50
10/12/2001    Houston                                  $      555.00
10/12/2001    Houston                                  $      137.50
11/8/2001     Houston                                  $      550.00
11/8/2001     Houston                                  $      137.50
12/14/2001    IMAC & Loan Agreements   $   15,000.00
1/3/2002      Houston                                  $      550.00
1/3/2002      Houston                                  $      137.50
2/6/2002      Houston                                  $      550.00
2/6/2002      Houston                                  $      550.00
2/6/2002      Houston                                  $      137.50
2/6/2002      Houston                                  $      137.50
3/4/2002      Houston                                  $      550.00
3/4/2002      Houston                                  $      137.50
4/11/2002     Houston                                  $      550.00
4/12/2002     Houston                                  $      137.50
5/10/2002     Houston                                  $      550.00
5/10/2002     Houston                                  $      137.50
6/13/2002     Houston                                  $      550.00
6/13/2002     Houston                                  $      137.50
7/11/2002     Houston                                  $      137.50
7/11/2002     Houston                                  $      550.00
8/6/2002      Houston                                  $      550.00
8/6/2002      Houston                                  $      137.50
9/9/2002      BBV 4347                                 $      687.50
10/24/2002    BBV 4347                                 $      687.50
11/5/2002     Houston                                  $      187.50
11/8/2002     BBV 4347                                 $      687.50
12/9/2002     BBV 4347                                 $      687.50
12/18/2002    Houston                                  $      187.50
1/3/2003      BBV 3145                                 $      750.00
1/13/2003     BBV 4347                                 $      875.00
2/19/2003     BBV 4347                                 $      875.00
3/5/2003      BBV 4347                                 $      875.00
4/9/2003      BBV 4347                                 $      875.00
5/9/2003      BBV 4347                                 $      875.00
6/6/2003      BBV 4347                                 $      875.00
7/9/2003      BBV 4347                                 $      875.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 58 of 99 PageID #: 2528
                     Leonard, Winifred - BLP Detail
8/8/2003      BBV 4347                                $       875.00
9/11/2003     BBV 4347                                $       875.00
10/7/2003     BBV 4347                                $       875.00
11/7/2003     BBV 4347                                $       875.00
12/10/2003    BBV 4347                                $       875.00
1/7/2004      BBV 4347                                $       875.00
2/24/2004     BBV 4347                                $       875.00
3/10/2004     BBV 4347                                $       875.00
4/8/2004      BBV 4347                                $       875.00
5/10/2004     BBV 4347                                $       875.00
6/9/2004      BBV 4347                                $       875.00
7/7/2004      BBV 4347                                $       875.00
8/9/2004      BBV 4347                                $       875.00
9/10/2004     BBV 4347                                $       875.00
10/19/2004    BBV 4347                                $       875.00
11/3/2004     BBV 4347                                $       875.00
12/9/2004     BBV 4347                                $       875.00
1/10/2005     BBV 4347                                $       875.00
2/9/2005      BBV 4347                                $       875.00
3/10/2005     BBV 4347                                $       875.00
4/5/2005      Houston                                 $       875.00
5/11/2005     BBV 4347                                $       875.00
6/9/2005      BBV 4347                                $       875.00
7/8/2005      BBV 4347                                $       875.00
8/10/2005     BBV 4347                                $       875.00
9/6/2005      BBV 4347                                $       875.00
10/6/2005     BBV 4347                                $       875.00
11/9/2005     BBV 4347                                $       875.00
12/8/2005     BBV 4347                                $       875.00
1/10/2006     BBV 4347                                $       875.00
2/10/2006     BBV 4347                                $       875.00
3/13/2006     BBV 4347                                $       875.00
4/7/2006      BBV 4347                                $       875.00
5/8/2006      BBV 4347                                $       875.00
6/12/2006     BBV 4347                                $       875.00
7/14/2006     BBV 4347                                $       875.00
8/15/2006     BBV 4347                                $       687.50
8/21/2006     BBV 4347                                $       187.50
9/12/2006     BBV 4347                                $       875.00
10/6/2006     BBV 4347                                $       875.00
11/14/2006    BBV 4347                                $       875.00
12/12/2006    BBV 4347                                $       875.00
1/12/2007     BBV 4347                                $       875.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 59 of 99 PageID #: 2529
                     Leonard, Winifred - BLP Detail
2/12/2007      BBV 4347                                $      875.00
3/9/2007       BBV 4347                                $      875.00
4/9/2007       BBV 4347                                $      875.00
5/9/2007       BBV 4347                                $      875.00
6/12/2007      BBV 4347                                $      875.00
7/16/2007      BBV 4347                                $      875.00
8/9/2007       BBV 4347                                $      875.00
9/7/2007       BBV 4347                                $      875.00
10/9/2007      BBV 4347                                $      875.00
11/8/2007      BBV 4347                                $      875.00
12/11/2007     BBV 4347                                $      875.00
1/9/2008       BBV 4347                                $      875.00
2/7/2008       BBV 4347                                $      875.00
3/7/2008       BBV 4347                                $      875.00
4/9/2008       BBV 4347                                $      875.00
5/9/2008       BBV 4347                                $      875.00
6/11/2008      BBV 4347                                $      875.00
7/3/2008       BBV 6556                $   20,000.00
7/9/2008       BBV 4347                                $      875.00
8/7/2008       BBV 4347                                $      875.00
9/9/2008       BBV 4347                                $      875.00
10/9/2008      BBV 4347                                $      875.00
11/7/2008      BBV 4347                                $      875.00
12/9/2008      BBV 4347                                $      875.00
1/12/2009      BBV 4347                                $      875.00
2/9/2009       BBV 4347                                $      875.00
3/9/2009       BBV 4347                                $      875.00
4/9/2009       BBV 4347                                $      875.00
5/11/2009      BBV 4347                                $      875.00
6/9/2009       BBV 4347                                $      875.00
7/17/2009      BBV 4347                                $      875.00
8/12/2009      BBV 4347                                $      875.00
8/28/2009      BBV 4347                                $    3,300.00
9/11/2009      Houston                                 $      875.00
11/6/2009      BBV 4347                                $      875.00
12/9/2009      BBV 4347                                $      875.00
1/28/2010      BBV 4347                                $    1,750.00
3/18/2010      BBV 4347                                $      181.25

BLP Receipts                           $   85,000.00
BLP Payments                                           $   89,986.25
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 60 of 99 PageID #: 2530
             Mastrantonio, Gina Marie (Miller, Robert - Deceased)
                                - BLP Detail
     Date         Account   BLP Receipts     BLP Payments

10/13/2005     Pion 6192    $    75,000.00
12/27/2005     Pion 6192    $   125,000.00
2/6/2008       BBV 4347                      $    1,859.40
3/7/2008       BBV 4347                      $    1,859.40
4/7/2008       BBV 4347                      $    1,859.40
5/7/2008       BBV 4347                      $    1,859.40
6/6/2008       BBV 4347                      $    1,859.40
7/7/2008       BBV 4347                      $    1,859.40
8/7/2008       BBV 4347                      $    1,859.40
9/8/2008       BBV 4347                      $    1,859.40
10/7/2008      BBV 4347                      $    1,859.40
11/7/2008      BBV 4347                      $    1,859.40
11/17/2008     BBV 4347                      $      487.97
12/5/2008      BBV 4347                      $    1,859.40
12/17/2008     BBV 4347                      $      487.97
1/12/2009      BBV 4347                      $    1,859.40
1/16/2009      BBV 4347                      $      487.97
2/6/2009       BBV 4347                      $    1,859.40
2/20/2009      BBV 4347                      $      487.97
3/6/2009       BBV 4347                      $    1,859.40
3/17/2009      BBV 4347                      $      487.97
4/7/2009       BBV 4347                      $    1,859.40
4/16/2009      BBV 4347                      $      487.97
5/11/2009      BBV 4347                      $    1,859.40
5/15/2009      BBV 4347                      $      487.97
6/9/2009       BBV 4347                      $    1,859.40
6/17/2009      BBV 4347                      $      487.97
7/16/2009      BBV 4347                      $    1,859.40
7/17/2009      BBV 4347                      $      487.97
8/12/2009      BBV 4347                      $    1,859.40
8/25/2009      BBV 4347                      $      487.97
9/11/2009      Houston                       $    1,859.40
9/23/2009      Houston                       $      487.97
12/8/2009      BBV 4347                      $    3,718.80
12/11/2009     BBV 4347     $      975.94
12/14/2009     BBV 4347                      $      975.94
12/21/2009     BBV 4347                      $      429.64
12/21/2009     BBV 4347                      $    1,859.40
1/21/2010      SLB 5960                      $    7,347.37
2/25/2010      BBV 4347                      $    1,859.40
2/25/2010      BBV 4347                      $      487.97
3/18/2010      BBV 4347                      $      429.64
3/18/2010      BBV 4347                      $    1,859.40

BLP Receipts                $   200,975.94
BLP Payments                                 $   61,523.23
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 61 of 99 PageID #: 2531
                          Matayo, Stanko - BLP Detail
     Date         Account      BLP Receipts     BLP Payments

3/27/2007      SLB 5960        $   130,786.00

BLP Receipts                   $   130,786.00
BLP Payments                                    $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 62 of 99 PageID #: 2532
                 Mays, Darren and Sheila - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

12/11/2009     SLB 5960       $    53,117.34
12/18/2009     SLB 5960       $     6,684.69
2/10/2010      SLB 5960       $    70,976.76
4/28/2010      SLB 5960       $    19,507.76

BLP Receipts                  $   150,286.55
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 63 of 99 PageID #: 2533
                     McCalla, William - BLP Detail
     Date       Account    BLP Receipts    BLP Payments

9/15/2006      BBV 0173    $   50,000.00
9/17/2007      BBV 0173    $   41,250.00
9/25/2008      BBV 6556                    $   17,500.00
12/31/2009     BBV 4347                    $    5,833.33
3/5/2010       BBV 4347                    $   11,666.67

BLP Receipts               $   91,250.00
BLP Payments                               $   35,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 64 of 99 PageID #: 2534
                  McCarthy, Carol O'Hanlon, Barbara
               (Block, Angelene - Deceased) - BLP Detail
     Date         Account       BLP Receipts    BLP Payments

4/9/2009       SLB 5960      $     500,000.00
9/11/2009      Houston                          $     5,833.33
1/25/2010      BBV 4347                         $     5,833.33
2/25/2010      BBV 4347                         $     5,833.33
3/16/2010      SLB 5960      $     125,000.00
3/16/2010      SLB 5960      $     125,000.00
3/19/2010      BBV 4347                         $     5,833.33

BLP Receipts                $      750,000.00
BLP Payments                                    $    23,333.32
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 65 of 99 PageID #: 2535
                   McLemore, William - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

8/11/2008      SLB 5960       $   100,000.00
11/10/2008     BBV 4347                        $    3,500.00
2/10/2009      BBV 4347                        $    3,500.00
5/11/2009      BBV 4347                        $    3,500.00
8/14/2009      BBV 4347                        $    3,500.00
11/20/2009     BBV 4347                        $    3,200.00
12/2/2009      BBV 4347                        $      300.00
12/14/2009     BBV 4347                        $    6,000.00
3/9/2010       BBV 4347                        $    3,500.00

BLP Receipts                  $   100,000.00
BLP Payments                                   $   27,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 66 of 99 PageID #: 2536
            Merlotti, Mark and Cindy and Marie - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

9/16/2008      SLB 5960       $   250,000.00
3/3/2009       SLB 5960       $   300,000.00
3/3/2009       SLB 5960       $   100,000.00
3/24/2009      SLB 5960       $   150,000.00
5/28/2009      SLB 5960       $   100,000.00
6/8/2009       SLB 5960       $   100,000.00
6/9/2009       BBV 3437                        $    4,373.00
8/20/2009      SLB 5960       $   108,000.00
9/11/2009      Houston                         $    4,373.00
12/7/2009      SLB 5960                        $    4,375.00
3/19/2010      BBV 3437                        $    4,373.00

BLP Receipts                  $ 1,108,000.00
BLP Payments                                   $   17,494.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 67 of 99 PageID #: 2537
                     Messenger, Lorena - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

4/15/2008      SLB 5960       $    70,023.00

BLP Receipts                  $    70,023.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 68 of 99 PageID #: 2538
      Miller, J. Ben (Nova Scotia Capital Ltd.) - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

1/26/2010      SLB 5960       $   300,000.00
4/29/2010      SLB 5739                        $   13,500.00

BLP Receipts                  $   300,000.00
BLP Payments                                   $   13,500.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 69 of 99 PageID #: 2539
                       Millsap, Hal and Jan - BLP Detail
     Date                 Account            BLP Receipts      BLP Payments

4/24/2001       IMAC & Loan Agreement        $    54,972.00
10/20/2003      BBV 3145                                       $   25,000.00
4/8/2004        BBV 0173                                       $   64,625.00
6/3/2008        BBV 6556                     $    70,000.00

BLP Receipts                                 $   124,972.00
BLP Payments                                                   $   89,625.00

Note: Millsap received numerous additional payments for fees
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 70 of 99 PageID #: 2540
                              Moore, Bob - BLP Detail
     Date                Account              BLP Receipts    BLP Payments

2/12/2001       IMAC & Loan Agreement         $   23,109.25
2/15/2005       BBV 0173                                      $    5,000.00
6/26/2007       BBV 0173                      $   24,000.00
8/27/2007       SLB 5960                      $   51,178.00
4/28/2008       BBV 6556                                      $    4,500.00
12/19/2008      BBV 4347                                      $    5,103.72

BLP Receipts                                  $   98,287.25
BLP Payments                                                  $   14,603.72

Note: No loan agreement for 6/26/07 deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 71 of 99 PageID #: 2541
               O'Sullivan, Mary (O'Sullivan, Thomas and
               O'Sullivan, Neil - Deceased) - BLP Detail
     Date         Account       BLP Receipts     BLP Payments

8/27/2008      SLB 5960         $   500,000.00
11/26/2008     BBV 4347                          $    21,250.00
12/19/2008     BBV 4347                          $    21,250.00
1/9/2009       SLB 5960         $   100,000.00
2/24/2009      BBV 4347                          $     1,000.00
2/24/2009      BBV 4347                          $    21,250.00
3/10/2009      BBV 4347                          $     1,000.00
4/3/2009       SLB 5960         $   200,000.00
4/10/2009      BBV 4347                          $     1,000.00
5/11/2009      BBV 4347                          $     1,000.00
5/29/2009      BBV 4347                          $    21,250.00
6/11/2009      BBV 4347                          $     1,000.00
7/9/2009       SLB 5960                          $     8,000.00
7/17/2009      BBV 4347                          $     1,000.00
8/14/2009      BBV 4347                          $     1,000.00
8/28/2009      BBV 4347                          $    21,250.00
9/21/2009      SLB 5960         $   186,925.73
9/21/2009      Houston                           $     1,000.00
9/25/2009      SLB 5960                          $    30,000.00
11/2/2009      SLB 5960                          $     2,340.38
12/4/2009      SLB 5960                          $     2,340.00
12/7/2009      SLB 5960                          $    20,000.00
12/11/2009     SLB 5960                          $     2,340.00
12/11/2009     BBV 4347                          $     8,000.00
12/14/2009     BBV 4347                          $     1,000.00
12/29/2009     SLB 5960         $    87,811.21
1/25/2010      BBV 4347                          $     1,000.00
1/25/2010      BBV 4347                          $     8,000.00
2/11/2010      SLB 5960                          $     1,756.22
2/23/2010      SLB 5960                          $     2,340.00
2/23/2010      SLB 5960                          $     1,756.22
3/19/2010      BBV 4347                          $     1,000.00
3/22/2010      BBV 4347                          $    20,000.00
4/27/2010      SLB 5960                          $     2,340.00
5/11/2010      StLB 130005739                    $     4,000.00

BLP Receipts                    $ 1,074,736.94
BLP Payments                                     $   230,462.82
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 72 of 99 PageID #: 2542
                              Ouwens, Rudolf - BLP Detail
     Date           Account           BLP Receipts     BLP Payments

8/28/2001    IMAC & Loan Agreements   $    30,000.00
9/28/2001    IMAC & Loan Agreements   $    50,000.00
11/26/2001   Houston                                   $     687.50
12/26/2001   Houston                                   $     687.50
1/23/2002    Houston                                   $     687.50
2/26/2002    Houston                                   $     687.50
3/29/2002    Houston                                   $     687.50
4/24/2002    Houston                                   $     687.50
5/20/2002    IMAC & Loan Agreements   $   159,625.00
6/26/2002    Houston                                   $     687.50
7/24/2002    Houston                                   $     687.50
8/13/2002    IMAC & Loan Agreements   $   120,000.00
8/13/2002    IMAC & Loan Agreements   $   120,000.00
8/27/2002    Houston                                   $     687.50
9/26/2002    BBV 4347                                  $     687.50
9/28/2002    IMAC & Loan Agreements   $    35,000.00
10/31/2002   BBV 4347                                  $      687.50
11/25/2002   BBV 4347                                  $      687.50
12/19/2002   BBV 4347                                  $      687.50
1/24/2003    BBV 4347                                  $      687.50
2/25/2003    BBV 4347                                  $      687.50
3/26/2003    BBV 4347                                  $      687.50
4/25/2003    BBV 4347                                  $      687.50
5/28/2003    BBV 4347                                  $      687.50
6/6/2003     BBV 3145                                  $   27,934.38
6/24/2003    BBV 4347                                  $      687.50
7/18/2003    BBV 4347                                  $      687.50
8/22/2003    BBV 4347                                  $      687.50
9/19/2003    BBV 4347                                  $      687.50
9/30/2003    BBV 4347                                  $   15,000.00
10/16/2003   BBV 0173                                  $    5,250.00
10/16/2003   BBV 0173                                  $   21,000.00
10/27/2003   BBV 4347                                  $      687.50
11/28/2003   BBV 4347                                  $      687.50
12/18/2003   BBV 4347                                  $      687.50
1/26/2004    BBV 4347                                  $      687.50
2/18/2004    BBV 4347                                  $      687.50
3/29/2004    BBV 4347                                  $      687.50
4/22/2004    BBV 4347                                  $      687.50
5/29/2004    BBV 0173                                  $   27,934.38
7/1/2004     BBV 4347                                  $      687.50
7/22/2004    BBV 4347                                  $      687.50
8/20/2004    BBV 4347                                  $      687.50
9/22/2004    BBV 4347                                  $      687.50
10/1/2004    BBV 0173                                  $   41,125.00
10/25/2004   BBV 4347                                  $      687.50
11/24/2004   BBV 4347                                  $      687.50
12/20/2004   BBV 4347                                  $      687.50
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 73 of 99 PageID #: 2543
                                  Ouwens, Rudolf - BLP Detail
      Date              Account              BLP Receipts     BLP Payments
1/20/2005       BBV 4347                                      $      687.50
2/24/2005       BBV 4347                                      $      687.50
3/18/2005       BBV 4347                                      $      687.50
4/21/2005       Houston                                       $      687.50
5/11/2005       BBV 3145                     $    57,934.38
5/20/2005       BBV 3145                                      $    57,934.38
5/25/2005       BBV 4347                                      $       687.50
6/22/2005       BBV 4347                                      $       687.50
7/21/2005       BBV 4347                                      $       687.50
8/24/2005       BBV 4347                                      $       687.50
8/26/2005       BBV 0173                                      $    26,250.00
9/26/2005       BBV 4347                                      $       687.50
10/17/2005      BBV 0173                                      $    41,125.00
10/26/2005      BBV 4347                                      $       687.50
11/21/2005      BBV 4347                                      $       687.50
1/3/2006        BBV 4347                                      $       687.50
1/20/2006       BBV 4347                                      $       687.50
2/23/2006       BBV 4347                                      $       687.50
3/23/2006       BBV 4347                                      $       687.50
4/27/2006       BBV 4347                                      $       687.50
5/31/2006       BBV 4347                                      $       687.50
5/31/2006       BBV 0173                                      $    32,684.38
6/22/2006       BBV 4347                                      $       687.50
7/21/2006       BBV 4347                                      $       687.50
8/21/2006       BBV 4347                                      $       687.50
8/25/2006       BBV 0173                                      $    25,593.75
9/26/2006       BBV 4347                                      $       687.50
10/30/2006      BBV 4347                                      $       687.50
11/29/2006      BBV 4347                                      $       687.50
12/22/2006      BBV 4347                                      $       687.50
1/30/2007       BBV 4347                                      $       687.50
2/26/2007       BBV 4347                                      $       687.50
3/30/2007       BBV 4347                                      $       687.50
4/26/2007       BBV 4347                                      $       687.50
5/25/2007       BBV 0173                                      $    32,684.38
8/17/2007       BBV 0173                                      $    14,500.00
8/28/2007       SLB 5960                     $    15,000.00
1/2/2008        SLB 5960                     $    15,250.00
5/2/2008        SLB 5960                     $   249,689.00
5/19/2008       BBV 6556                                      $    20,934.38
9/4/2008        BBV 6556                                      $    26,250.00
5/6/2009        BBV 4347                                      $    43,695.58

BLP Receipts                                 $   852,498.38
BLP Payments                                                  $   503,895.61

Note: IMAC indicates 2 separate $120,000 loans on 8/13/02
Note: 5/11/05 Receipt has no loan agreement
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 74 of 99 PageID #: 2544
                              Pastor, Ronald - BLP Detail
     Date       Account   BLP Receipts     BLP Payments

5/19/2004      BBV 3145   $    51,440.20
8/27/2004      BBV 3145   $    41,083.07
6/15/2005      BBV 0173                    $      500.00
8/31/2005      BBV 0173                    $    3,000.00
9/1/2005       BBV 3145                    $    2,397.69
10/3/2005      BBV 4347                    $    1,930.90
11/17/2005     BBV 4347                    $    2,397.69
2/17/2006      BBV 4347                    $    2,397.69
3/1/2006       BBV 4347                    $    1,810.90
5/22/2006      BBV 4347                    $    2,397.69
6/12/2006      BBV 4347                    $    1,810.90
8/21/2006      BBV 4347                    $    2,397.69
11/17/2006     BBV 4347                    $    2,397.69
12/5/2006      BBV 4347                    $    1,810.90
2/16/2007      BBV 4347                    $    2,397.69
3/2/2007       BBV 4347                    $    1,810.90
5/17/2007      BBV 4347                    $    2,397.69
6/5/2007       BBV 4347                    $    1,810.90
8/17/2007      BBV 4347                    $    2,397.69
9/6/2007       BBV 4347                    $    1,810.90
11/19/2007     BBV 4347                    $    2,397.69
12/5/2007      BBV 4347                    $    1,810.90
2/19/2008      BBV 4347                    $    2,397.69
3/4/2008       BBV 4347                    $    1,810.90
5/19/2008      BBV 6556                    $    9,942.24
5/19/2008      BBV 4347                    $    2,397.69
6/4/2008       BBV 4347                    $    1,810.90
8/19/2008      BBV 4347                    $    2,397.69
9/3/2008       BBV 4347                    $    1,810.90
11/19/2008     BBV 4347                    $    2,397.69
11/21/2008     BBV 4347   $     2,397.69
12/2/2008      BBV 4347                    $    1,810.90
12/4/2008      BBV 4347   $     1,810.90
12/15/2008     BBV 4347                    $    1,810.90
12/15/2008     BBV 4347                    $    2,397.69
2/25/2009      BBV 4347                    $    2,397.69
3/3/2009       BBV 4347                    $    1,810.90
5/26/2009      BBV 4347                    $    2,397.69
6/9/2009       BBV 4347                    $    1,810.90
8/24/2009      BBV 4347                    $    1,812.50
8/31/2009      BBV 4347                    $    1,812.50
1/28/2010      BBV 4347                    $    3,453.13
4/29/2010      BBV 4347                    $    3,453.63

BLP Receipts              $    96,731.86
BLP Payments                               $   92,018.23
       Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 75 of 99 PageID #: 2545
                  Phillips, William and Carol - BLP Detail
Date             Account                        BLP Receipts     BLP Payments

8/21/2001        IMAC & Loan Agreements         $    80,975.61
8/21/2001        IMAC & Loan Agreements         $    31,098.18
1/28/2002        IMAC & Loan Agreements         $   130,000.00
9/12/2002        IMAC & Loan Agreements         $    27,983.47
8/8/2003         BBV 3145                       $    67,741.54
9/9/2003         BBV 3145                       $    32,880.58
1/31/2004        BBV 0173                                        $    20,000.00
8/23/2004        BBV 0173                                        $     8,000.00
9/27/2004        BBV 0173                       $      785.00
2/3/2005         BBV 0173                                        $    10,000.00
9/20/2006        BBV 0173                       $   185,133.00
9/21/2006        BBV 0173                       $    82,536.00
1/25/2007        BBV 0173                                        $    25,000.00
9/20/2007        BBV 0173                                        $    53,989.90
9/20/2007        BBV 0173                                        $   100,000.00
1/17/2008        BBV 6556                                        $    28,000.00
9/4/2008         BBV 6556                                        $    25,000.00
2/4/2009         BBV 6556                                        $     1,750.00
8/27/2009        BBV 4347                                        $    26,543.26
8/27/2009        BBV 4347                                        $    16,683.25
3/9/2010         BBV 4347                                        $     3,053.13
3/9/2010         BBV 4347                                        $    12,887.45
3/10/2010        BBV 4347                                        $    24,059.42

BLP Receipts                                    $   639,133.38
BLP Payments                                                     $   354,966.41

Note: 8/8/03 loan agreement is for $67,721.54
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 76 of 99 PageID #: 2546
                       Price, Margaret - BLP Detail
     Date             Account         BLP Receipts     BLP Payments

10/15/2000    IMAC & Loan Agreement   $   114,536.78
8/22/2001     Houston                                  $    1,670.33
9/21/2001     Houston                                  $    1,670.33
10/22/2001    Houston                                  $    1,670.33
11/12/2001    Houston                                  $    9,235.00
11/21/2001    Houston                                  $    1,670.33
1/3/2002      Houston                                  $    1,670.33
2/6/2002      Houston                                  $    1,670.33
2/13/2002     Houston                                  $    1,670.33
3/28/2002     Houston                                  $    1,670.33
4/18/2002     Houston                                  $    1,670.33
5/10/2002     Houston                                  $    1,670.33
6/18/2002     Houston                                  $    1,670.33
7/17/2002     Houston                                  $    1,670.33
8/21/2002     Houston                                  $    1,670.33
9/20/2002     BBV 4347                                 $    1,670.33
10/31/2002    BBV 4347                                 $    1,670.33
11/25/2002    BBV 4347                                 $    1,670.33
12/19/2002    BBV 4347                                 $    1,670.33
1/24/2003     BBV 4347                                 $    1,670.33
2/25/2003     BBV 4347                                 $    1,670.33
3/26/2003     BBV 4347                                 $    1,670.33
4/25/2003     BBV 4347                                 $    1,670.33
5/28/2003     BBV 4347                                 $    1,670.33
6/24/2003     BBV 4347                                 $    1,670.33
7/18/2003     BBV 4347                                 $    1,670.33
8/22/2003     BBV 4347                                 $    1,670.33
9/19/2003     BBV 4347                                 $    1,670.33
10/27/2003    BBV 4347                                 $    1,670.33
11/28/2003    BBV 4347                                 $    1,670.33
12/18/2003    BBV 4347                                 $    1,670.33
1/26/2004     BBV 4347                                 $    1,670.33
2/18/2004     BBV 4347                                 $    1,670.33
3/29/2004     BBV 4347                                 $    1,670.33
4/22/2004     BBV 4347                                 $    1,670.33
5/20/2004     BBV 4347                                 $    1,670.33
7/1/2004      BBV 4347                                 $    1,670.33
7/22/2004     BBV 4347                                 $    1,670.33
8/20/2004     BBV 4347                                 $    1,670.33
9/22/2004     BBV 4347                                 $    1,670.33
10/25/2004    BBV 4347                                 $    1,670.33
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 77 of 99 PageID #: 2547
                       Price, Margaret - BLP Detail
      Date             Account        BLP Receipts     BLP Payments
11/22/2004     BBV 4347                                $    1,670.33
12/20/2004     BBV 4347                                $    1,670.33
1/20/2005      BBV 4347                                $    1,670.33
2/24/2005      BBV 4347                                $    1,670.33
3/18/2005      BBV 4347                                $    1,670.33
4/21/2005      Houston                                 $    1,670.33
5/20/2005      BBV 4347                                $    1,670.33
6/22/2005      BBV 4347                                $    1,670.33
7/21/2005      BBV 4347                                $    1,670.33
8/24/2005      BBV 4347                                $    1,670.33
9/26/2005      BBV 4347                                $    1,670.33
10/26/2005     BBV 4347                                $    1,670.33
11/21/2005     BBV 4347                                $    1,670.33
1/3/2006       BBV 4347                                $    1,670.33
1/20/2006      BBV 4347                                $    1,670.33
2/23/2006      BBV 4347                                $    1,670.33
3/23/2006      BBV 4347                                $    1,670.33
4/21/2006      BBV 4347                                $    1,670.33
5/31/2006      BBV 4347                                $    1,670.33
6/22/2006      BBV 4347                                $    1,670.33
7/21/2006      BBV 4347                                $    1,670.33
8/21/2006      BBV 4347                                $    1,670.33
9/22/2006      BBV 4347                                $    1,670.33
10/24/2006     BBV 4347                                $    1,670.33
11/29/2006     BBV 4347                                $    1,670.33
12/22/2006     BBV 4347                                $    1,670.33
1/22/2007      BBV 4347                                $    1,670.33
2/26/2007      BBV 4347                                $    1,670.33
3/22/2007      BBV 4347                                $    1,670.33
4/26/2007      BBV 4347                                $    1,670.33
5/24/2007      BBV 4347                                $    1,670.33
6/26/2007      BBV 4347                                $    1,670.33
7/30/2007      BBV 4347                                $    1,670.33
8/24/2007      BBV 4347                                $    1,670.33
9/20/2007      BBV 4347                                $    1,670.33
10/24/2007     BBV 0173                                $  114,536.00
10/24/2007     BBV 4347                                $    1,670.33
11/23/2007     BBV 4347                                $    1,670.33

BLP Receipts                          $   114,536.78
BLP Payments                                           $   250,716.08
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 78 of 99 PageID #: 2548
                   Quessenberry, Buddy - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

4/23/2008      SLB 5960       $   175,230.00
8/13/2008      BBV 4347                        $    7,228.24
10/23/2008     BBV 4347                        $    7,228.24
4/23/2009      BBV 4347                        $    7,228.24
7/30/2009      BBV 4347                        $    6,352.09
12/11/2009     BBV 4347                        $    6,352.09
3/8/2010       BBV 4347                        $    6,400.00

BLP Receipts                  $   175,230.00
BLP Payments                                   $   40,788.90
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 79 of 99 PageID #: 2549
                             Reed, Elaine - BLP Detail
     Date            Account         BLP Receipts     BLP Payments

2/17/2009        SLB 5960           $    26,000.00
3/7/2009         BBV 4347                             $      2,433.75
6/8/2009         BBV 4347                             $      2,433.75
9/11/2009        BBV 4347                             $      2,433.75
2/4/2010         BBV 4347                             $      2,433.75

BLP Receipts                        $    26,000.00
BLP Payments                                          $      9,735.00

Note: There is a 12/2/08 loan agreement in the amount of $59,000 with no corresponding deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 80 of 99 PageID #: 2550
                 Rogers, Darren and Debbie - BLP Detail
     Date          Account      BLP Receipts     BLP Payments

4/9/2010         BBV 6556       $    10,000.00

BLP Receipts                    $    10,000.00
BLP Payments                                     $        -

Note: No loan agreement for 4/9/10 deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 81 of 99 PageID #: 2551
                         Rollon, Betty - BLP Detail
     Date             Account          BLP Receipts    BLP Payments

1/28/2002      IMAC & Loan Agreement   $   66,814.81
2/7/2002       IMAC & Loan Agreement   $   24,450.53
1/31/2004      BBV 0173                                $   13,534.37
2/3/2005       BBV 0173                                $   12,760.98
2/7/2006       BBV 0173                                $   29,227.66

BLP Receipts                           $   91,265.34
BLP Payments                                           $   55,523.01
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 82 of 99 PageID #: 2552
                      Roman, Leonard - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

12/14/2001     IMAC & Loan Agreement   $    81,063.09
8/29/2006      SLB 5960                                 $    1,000.00
12/17/2008     SLB 5960                                 $   50,000.00
3/26/2009      SLB 5960                $    50,334.62
3/5/2010       SLB 5960                                 $    3,750.00

BLP Receipts                           $   131,397.71
BLP Payments                                            $   54,750.00
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 83 of 99 PageID #: 2553
  Rosemann, Phil (Braithwaite, Milton Group Holdings) - BLP
                            Detail
     Date            Account            BLP Receipts     BLP Payments

12/26/2003       Pion 6192          $       300,000.00
10/20/2004       Pion 6192          $        75,000.00
10/20/2004       Pion 6192          $       325,000.00
4/7/2005         Pion 6192          $       500,000.00
10/11/2005       Pion 6192          $       300,000.00
10/24/2005       Pion 6192          $        50,000.00
3/20/2006        BBV 0173           $       100,000.00
4/26/2006        Pion 6192          $       350,000.00
6/1/2006         Pion 6192          $       200,000.00
11/17/2006       SLB 5960           $        75,000.00
1/5/2007         SLB 5960           $     6,000,000.00
1/15/2007        IMAC/SLB           $       612,000.00
1/22/2007        IMAC/SLB           $       408,000.00
3/14/2007        SLB 5960           $       508,220.19
3/18/2007        IMAC/SLB           $     1,000,000.00
7/16/2007        SLB 5960           $       237,500.00
8/23/2007        SLB 5960           $     1,592,180.01
1/3/2008         SLB 5960           $       380,706.66
1/17/2008        SLB 5960           $       237,500.00
4/14/2008        SLB 5960                                $ 1,873,933.00
6/26/2008        SLB 5960                                $   200,000.00
9/2/2008         SLB 5960                                $   150,000.00
3/1/2009         SLB 4828                                $    40,000.00
3/2/2009         SLB 5739                                $   160,000.00
3/26/2009        SLB 5960                                $    60,000.00
4/8/2009         SLB 5960                                $   500,000.00
4/8/2009         SLB 5960                                $   350,000.00
5/4/2009         SLB 5960                                $    18,000.00
5/4/2009         SWB 0793                                $    50,000.00
5/12/2009        SLB 5739                                $    50,000.00
6/2/2009         SWB 3930                                $    50,000.00
6/5/2009         SLB 5960                                $   100,000.00
6/5/2009         SLB 5960                                $   250,000.00
6/9/2009         SLB 5960                                $   240,000.00
7/29/2009        SLB 4828                                $    42,000.00

BLP Receipts                        $ 13,251,106.86
BLP Payments                                             $ 4,133,933.00

Note: Metis loan of $4,900,000 on 1/17/07 not included
Note: Metis interest payments of $237,500 on 7/18/08 and 1/22/09 not included
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 84 of 99 PageID #: 2554
                          Schultz, David - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

4/7/2003       BBV 3145       $    70,229.38
4/5/2005       BBV 3145                        $   17,894.00
4/10/2006      BBV 0173                        $    3,300.00
3/15/2007      SLB 5960                        $    4,000.00
2/29/2008      BBV 6556                        $    4,250.00
4/16/2008      BBV 6556                        $   13,298.32
4/15/2009      BBV 4347                        $    4,000.00

BLP Receipts                  $    70,229.38
BLP Payments                                   $   46,742.32
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 85 of 99 PageID #: 2555
                          Shahan, John - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

8/28/2006      SLB 5960       $    45,000.00
9/6/2006       SLB 5960       $    80,765.00
10/2/2006      SLB 5960       $    17,037.00

BLP Receipts                  $   142,802.00
BLP Payments                                   $        -
      Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 86 of 99 PageID #: 2556
                            Sincoski, Arlene - BLP Detail
     Date         Account     BLP Receipts    BLP Payments

9/13/2006      SLB 5960      $    36,000.00
9/26/2006      SLB 5960      $   168,694.72
9/28/2006      SLB 5960      $   143,266.55
10/11/2006     SLB 5960      $   444,259.00
11/7/2006      BBV 4347                       $     2,800.00
11/14/2006     SLB 5960      $    13,095.00
12/5/2006      BBV 4347                       $     2,800.00
1/5/2007       BBV 4347                       $     2,800.00
2/1/2007       BBV 4347                       $     2,800.00
3/2/2007       BBV 4347                       $     2,800.00
4/3/2007       BBV 4347                       $     2,800.00
4/4/2007       SLB 5960                       $    16,819.81
5/2/2007       BBV 4347                       $     2,800.00
6/5/2007       BBV 4347                       $     2,800.00
7/6/2007       BBV 4347                       $     2,800.00
8/2/2007       BBV 4347                       $     2,800.00
9/6/2007       BBV 4347                       $     2,800.00
10/3/2007      BBV 4347                       $     2,800.00
10/3/2007      BBV 0173                       $    18,000.00
11/1/2007      BBV 4347                       $     2,800.00
12/5/2007      BBV 4347                       $     2,800.00
1/3/2008       BBV 4347                       $     2,800.00
2/1/2008       BBV 4347                       $     2,800.00
3/4/2008       BBV 4347                       $     2,800.00
4/7/2008       BBV 4347                       $     2,800.00
5/6/2008       BBV 4347                       $     2,800.00
5/20/2008      SLB 5960      $    25,000.00
6/4/2008       BBV 4347                       $     2,800.00
7/3/2008       BBV 4347                       $     2,800.00
8/4/2008       BBV 4347                       $     2,800.00
9/8/2008       BBV 4347                       $     2,800.00
10/2/2008      BBV 4347                       $     2,800.00
11/4/2008      BBV 4347                       $     2,800.00
11/18/2008     SLB 5960      $     2,800.00
12/2/2008      BBV 6556                       $    22,018.26
1/12/2009      BBV 4347                       $     8,500.00
4/3/2009       BBV 4347                       $     8,500.00
7/2/2009       BBV 4347                       $     3,875.00
7/16/2009      BBV 4347                       $     8,500.00
11/9/2009      BBV 4347                       $     8,500.00
12/10/2009     BBV 4347                       $    10,000.00
1/20/2010      SLB 5960                       $       600.00
1/29/2010      BBV 4347                       $     6,500.00

BLP Receipts                 $   833,115.27
BLP Payments                                  $   181,813.07
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 87 of 99 PageID #: 2557
         Smith, Homer and Gary and Dorothy - BLP Detail
     Date            Account        BLP Receipts     BLP Payments

3/10/2008       BBV 6556            $    65,000.00
4/11/2008       BBV 6556            $   130,000.00
7/24/2008       BBV 6556            $   135,000.00
6/8/2009        BBV 6556            $    15,000.00
11/6/2009       BBV 4347                             $      543.75
11/19/2009      SLB 5739            $    20,000.00
12/8/2009       SLB 5960                             $    1,364.00
3/22/2010       BBV 4347                             $      545.00
3/22/2010       BBV 4347                             $      725.00
4/15/2010       BBV 6556            $    15,000.00

BLP Receipts                        $   380,000.00
BLP Payments                                         $    3,177.75

Note: No loan agreement for 4/15/10 deposit
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 88 of 99 PageID #: 2558
            Stevens, Arlene and Deborah Jane - BLP Detail
     Date       Account    BLP Receipts    BLP Payments

7/24/2008      BBV 6556    $   58,000.00
9/25/2009      BBV 4347                    $    5,000.00

BLP Receipts               $   58,000.00
BLP Payments                               $    5,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 89 of 99 PageID #: 2559
                          Sturhan, Kent - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

9/17/2008      SLB 5960       $    85,000.00

BLP Receipts                  $    85,000.00
BLP Payments                                   $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 90 of 99 PageID #: 2560
         Vines, Winston (Vines Family Trust) - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

8/30/2000     IMAC & Loan Agreements   $   100,000.00
9/6/2001      Houston                                   $    1,375.00
9/26/2001     Houston                                   $    1,375.00
10/29/2001    Houston                                   $    1,375.00
11/26/2001    Houston                                   $    1,375.00
12/26/2001    Houston                                   $    1,375.00
1/2/2002      IMAC & Loan Agreements   $    50,000.00
1/23/2002     Houston                                   $    1,375.00
2/26/2002     Houston                                   $    1,375.00
3/29/2002     Houston                                   $    1,375.00
4/24/2002     Houston                                   $    1,375.00
5/23/2002     Houston                                   $    1,375.00
6/26/2002     Houston                                   $    1,375.00
8/1/2002      Houston                                   $    1,375.00
8/27/2002     Houston                                   $    1,375.00
10/30/2002    IMAC & Loan Agreements   $    70,687.05
4/4/2003      BBV 4347                                  $    2,000.00
7/3/2003      BBV 4347                                  $    2,000.00
10/3/2003     BBV 4347                                  $    2,000.00
10/29/2003    BBV 0173                                  $   83,057.28
1/5/2004      BBV 4347                                  $    2,000.00
4/6/2004      BBV 4347                                  $    2,000.00
8/16/2004     BBV 0173                 $    50,000.00
1/7/2005      BBV 4347                                  $    8,000.00
1/10/2005     BBV 4347                                  $      750.00
3/3/2005      BBV 4347                                  $    2,062.50
3/31/2005     BBV 4347                                  $    2,000.00
6/1/2005      BBV 4347                                  $    2,062.50
7/7/2005      BBV 4347                                  $    2,000.00
8/12/2005     BBV 4347                                  $    2,062.50
11/16/2005    BBV 4347                                  $    2,062.50
11/17/2005    BBV 4347                                  $    2,000.00
1/5/2006      BBV 4347                                  $    2,000.00
2/14/2006     BBV 4347                                  $    2,062.50
4/4/2006      BBV 4347                                  $    2,000.00
5/12/2006     BBV 4347                                  $    2,062.50
7/5/2006      BBV 4347                                  $    2,000.00
8/17/2006     BBV 4347                                  $    2,062.50
10/5/2006     BBV 4347                                  $    2,000.00
11/14/2006    BBV 4347                                  $    2,062.50
1/2/2007      BBV 0173                                  $   50,000.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 91 of 99 PageID #: 2561
         Vines, Winston (Vines Family Trust) - BLP Detail
      Date            Account          BLP Receipts     BLP Payments
1/5/2007       BBV 4347                                 $    2,000.00
2/13/2007      BBV 4347                                 $    2,062.50
5/14/2007      BBV 4347                                 $    2,062.50
8/15/2007      BBV 4347                                 $    2,062.50
11/14/2007     BBV 4347                                 $    2,062.50
2/14/2008      BBV 4347                                 $    2,062.50
5/14/2008      BBV 4347                                 $    2,062.50
8/14/2008      BBV 4347                                 $    2,062.50
11/14/2008     BBV 4347                                 $    2,062.50
2/13/2009      BBV 4347                                 $    2,062.50
5/14/2009      BBV 4347                                 $    2,062.50
8/24/2009      BBV 4347                                 $    2,062.50
12/21/2009     BBV 4347                                 $    1,812.50
3/18/2010      BBV 4347                                 $    1,812.50

BLP Receipts                           $   270,687.05
BLP Payments                                            $   228,494.78
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 92 of 99 PageID #: 2562
                       Vollmar, Barbara - BLP Detail
     Date        Account    BLP Receipts    BLP Payments

2/18/2004      Pion 6192   $   100,000.00
3/12/2004      Pion 6192   $    75,000.00
11/29/2004     Pion 6192   $   184,330.68

BLP Receipts               $   359,330.68
BLP Payments                                $        -
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 93 of 99 PageID #: 2563
                          Vollmar, Lewis - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

2/22/2000      IMAC & Loan Agreement   $    87,969.80
5/2/2000       IMAC & Loan Agreement   $   110,000.00
6/15/2000      IMAC & Loan Agreement   $    40,000.00
7/21/2000      IMAC & Loan Agreement   $    89,333.33
7/21/2000      IMAC & Loan Agreement   $    89,333.33
7/21/2000      IMAC & Loan Agreement   $    89,333.33
8/18/2000      IMAC & Loan Agreement   $     2,803.33
8/18/2000      IMAC & Loan Agreement   $     8,000.00
8/18/2000      IMAC & Loan Agreement   $     8,000.00
11/29/2000     IMAC & Loan Agreement   $    75,000.00
1/3/2001       IMAC & Loan Agreement   $    80,000.00
4/10/2001      IMAC & Loan Agreement   $    44,000.00
4/25/2001      IMAC & Loan Agreement   $    19,200.00
7/3/2001       IMAC & Loan Agreement   $    25,000.00
8/21/2001      Houston                                  $     1,301.67
9/21/2001      Houston                                  $     1,301.67
10/22/2001     Houston                                  $     1,301.67
11/21/2001     Houston                                  $     1,301.67
12/18/2001     Houston                                  $     1,301.67
2/6/2002       Houston                                  $     1,301.67
2/13/2002      Houston                                  $     1,301.67
5/24/2002      IMAC & Loan Agreement   $    50,000.00
10/29/2002     IMAC & Loan Agreement   $    42,033.00
1/23/2003      BBV 3145                $    60,689.75
4/21/2003      Pion 6192               $    40,000.00
10/24/2003     Pion 6192               $    25,000.00
10/27/2003     BBV 0173                $    25,000.00
3/8/2004       BBV 3145                $    19,198.05
4/14/2004      BBV 3145                $    14,275.86
10/20/2004     Pion 6192               $    20,000.00
10/29/2004     Pion 6192               $    19,251.49
4/7/2005       Pion 6192               $    16,416.79
5/12/2005      Pion 6192               $    20,000.00
11/16/2005     Pion 6192               $    18,956.68
4/4/2006       Pion 6192               $    11,479.00
7/31/2006      SLB 5960                $    20,000.00
4/25/2007      SLB 5960                $    27,762.00
12/29/2008     SLB 4828                                 $    87,000.00
12/29/2008     SLB 5960                                 $   413,000.00
2/22/2010      SLB 5960                $    30,000.00


BLP Receipts                           $ 1,228,035.74
BLP Payments                                            $   509,111.69
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 94 of 99 PageID #: 2564
Waffle, Larry (deceased) and Brian Scott (surviving brother) -
                         BLP Detail
     Date       Account    BLP Receipts    BLP Payments

10/17/2005     BBV 0173    $   50,000.00
2/3/2006       BBV 4347                    $    2,187.50
4/18/2006      BBV 4347                    $    2,187.50
7/19/2006      BBV 4347                    $    2,187.50
10/17/2006     BBV 4347                    $    2,187.50
1/18/2007      BBV 4347                    $    2,187.50
4/20/2007      BBV 4347                    $    2,187.50
7/19/2007      BBV 4347                    $    2,187.50
10/18/2007     BBV 4347                    $    2,187.50
1/17/2008      BBV 4347                    $    2,187.50
4/18/2008      BBV 4347                    $    2,187.50
7/17/2008      BBV 4347                    $    2,187.50
10/17/2008     BBV 4347                    $    2,187.50
1/20/2009      BBV 4347                    $    2,000.00
4/17/2009      BBV 4347                    $    2,000.00
7/20/2009      BBV 4347                    $    2,000.00

BLP Receipts               $   50,000.00
BLP Payments                               $   32,250.00
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 95 of 99 PageID #: 2565
                        Wantling, Deborah - BLP Detail
     Date            Account         BLP Receipts     BLP Payments

4/30/2009        SLB 5960           $   150,000.00

BLP Receipts                        $   150,000.00
BLP Payments                                          $            -

Note: 4/30/09 deposit of $300,000 includes $150,000 for Stan Kuhlo (Wantling's brother)
     Case: 4:14-cv-00983-LRR Doc. #: 98-7 Filed: 08/31/15 Page: 96 of 99 PageID #: 2566
                          Werner, Brad - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

12/3/2009      SLB 5960       $   500,000.00
3/4/2010       SLB 5960       $   500,000.00

BLP Receipts                  $ 1,000,000.00
BLP Payments                                   $         -
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                      Whittaker, Stuart - BLP Detail
     Date             Account          BLP Receipts     BLP Payments

10/7/2002      IMAC & Loan Agreement   $    50,000.00
10/15/2004     BBV 3145                                 $    69,031.25
10/22/2004     BBV 0173                $    80,000.00
10/24/2005     BBV 0173                $     5,000.00
12/1/2005      BBV 0173                $    50,000.00
1/3/2006       BBV 0173                $    62,500.00
3/8/2006       BBV 4347                                 $     2,000.00
4/4/2006       BBV 4347                                 $     2,900.00
6/14/2006      BBV 4347                                 $     2,000.00
7/5/2006       BBV 4347                                 $     2,900.00
9/8/2006       BBV 4347                                 $     2,000.00
10/5/2006      BBV 4347                                 $     2,900.00
12/7/2006      BBV 4347                                 $     2,000.00
1/4/2007       BBV 0173                $    31,700.00
1/5/2007       BBV 4347                                 $     2,900.00
3/8/2007       BBV 4347                                 $     2,000.00
4/2/2007       BBV 0173                $     2,000.00
4/5/2007       BBV 4347                                 $     2,900.00
7/6/2007       BBV 4347                                 $     2,900.00
9/28/2007      BBV 0173                $     5,800.00
12/17/2007     BBV 0173                $    10,000.00
1/4/2008       BBV 4347                                 $     2,900.00
4/7/2008       BBV 4347                                 $     2,900.00

BLP Receipts                           $   297,000.00
BLP Payments                                            $   102,231.25
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               Winterhof, Loren and Mary - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

11/17/2004     Pion 6192      $    18,145.81
12/8/2004      Pion 6192      $    66,189.13
11/16/2005     BBV 0173                        $    3,175.52
3/5/2010       SLB 5960                        $    5,000.00

BLP Receipts                  $    84,334.94
BLP Payments                                   $    8,175.52
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                Wittenmeyer, Eric and Jill - BLP Detail
     Date         Account      BLP Receipts    BLP Payments

3/17/2010      SLB 5960       $   100,000.00

BLP Receipts                  $   100,000.00
BLP Payments                                   $        -
